Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 1 of 51 PageID# 5688




                           TED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )
BIJAN RAFIEKIAN, et al.,                       )       Case Number 1:18-cr-457-AJT-1
                                               )
            Defendants.                        )
__________________________________             )

                                       NEW TRIAL ORDER

       By Order dated September 24, 2019, [Doc. No. 373], following a jury verdict finding the

Defendant guilty on Counts One and Two of the Superseding Indictment, the Court entered a

judgment of acquittal in favor of Defendant Bijan Rafiekian on both counts and conditionally

granted Rafiekian’s motion for a new trial should its judgment of acquittal be vacated or reversed

on appeal. On March 18, 2021, the Court of Appeals for the Fourth Circuit reversed and vacated

the Court’s judgment of acquittal, vacated its conditionally granted new trial order and remanded

this case for further proceedings. In vacating the Court’s conditional grant of a new trial, the

Fourth Circuit found the Court’s explanation justifying a new trial insufficient because “it simply

pointed back to its acquittal analysis without further elaboration,” [Doc. No. 378] (hereinafter the

“Opinion”) at 35, and could not “say whether the court appreciated [the applicable] limit on its

discretion and therefore cannot affirm on weight of the evidence grounds.” Id. at 36 (internal

quotes omitted). Nevertheless, the Court of Appeals recognized that “… having observed the

trial in the flesh, the District Court may have additional justifications for its decision [granting a

new trial].” Id.

       Upon remand, Rafiekian renewed his motion for a new trial [Doc. No. 387] (the

“Renewed New Trial Motion”), on which the Court has received supplemental briefing [Doc.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 2 of 51 PageID# 5689




No. 387, 390, 405], 1 and oral argument at a hearing held on December 15, 2021. Upon

consideration of the decision of the Fourth Circuit, the weight of the evidence, the limits on the

Court’s discretion in granting a new trial, the parties’ supplemental briefing and the arguments of

counsel, and for the following reasons in further support of its previous Order conditionally

granting a new trial, Defendant’s Renewed New Trial Order is GRANTED.

                                             I. BACKGROUND

        A six-count indictment [Doc. No. 1] was issued against Rafiekian and Kamil Ekim

Alptekin 2 on December 12, 2018, and a superseding indictment [Doc. No. 141] was issued

against them on May 23, 2019. Count One of the superseding indictment charged Rafiekian and

Alptekin under 18 U.S.C. § 371 with conspiracy to (1) act as an agent of the Turkish government

without prior notification to the Attorney General in violation of 18 U.S.C. § 951; and (2) file a

materially false filing under the Foreign Agents Registration Act (“FARA”) in violation of 22

U.S.C. § 618(a)(2). Count Two charged both Defendants under 18 U.S.C. § 951 (“Section 951”

or § 951 ) with knowingly acting and causing others to act in the United States as agents of the

Turkish government without prior notification to the Attorney General, as required by law.

        Beginning on July 15, 2019, the case against Rafiekian was tried before a jury. On July

23, 2019, the jury found Rafiekian guilty on Counts One and Two of the Superseding Indictment.



1
  Rafiekian’s Renewed New Trial Motion is based, in part, on the United States’ alleged inadequate disclosure of
classified information, which was provided to Rafiekian during pretrial proceedings in a court approved summary
admitted at trial as DEX 66. In response to the United States’ opposition to the Renewed New Trial Motion [Doc.
No. 390], which included an ex parte, in camera supplemental filing based on that classified information, [Doc. No.
39], Rafiekian renewed his motion for unrestricted access to that classified information. [Doc. No. 392] (“Motion to
Compel Disclosure of Classified Material and Ex Parte Statement and for an Extension of Time to File Reply in
support of Rafiekian’s Motion for a New Trial”) (hereinafter “Motion to Compel”). By Order dated October 8, 2021
[Doc. No. 404], the Court denied Rafiekiean’s Motion to Compel without prejudice to his position that the United
States improperly argued DEX 66 to the jury. On October 18, 2021, Rafiekian filed his reply to the United States’
opposition to his Renewed New Trial Motion. [Doc. No. 405].
2
  Alptekin resides in Turkey and has not appeared in this action except for the limited purpose of opposing the
Government’s Motion to Establish the Crime-Fraud Exception as to him. See [Doc. Nos. 188, 216]. He was also
charged with four additional counts of making false statements in violation of 18 U.S.C. § 1001(a)(2).

                                                         2
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 3 of 51 PageID# 5690




The Defendant moved for a judgment of acquittal at the close of the Government’s case in chief,

renewed that motion at the close of all the evidence and following the verdict, and filed a Motion

for Judgment of Acquittal Under Federal Rule of Criminal Procedure 29 [Doc. No. 342] (the

“Motions for Acquittal”) and Motion for a New Trial [Doc. No. 361]. By Order dated

September 24, 2019 [Doc. No. 372], the Court granted the Motions for Acquittal, vacated

Defendant’s convictions on both counts of the Superseding Indictment, entered a judgment of

acquittal as to both counts, and dismissed the Superseding Indictment. The Court also

conditionally granted Defendant Bijan Rafiekian’s Motion for a New Trial [Doc. No. 361].

        The United States appealed and on March 18, 2021, the United States Court of Appeals

for the Fourth Circuit reversed and vacated the judgment of acquittal, vacated the conditional

grant of a new trial and remanded the case for further proceedings. United States v. Rafiekian, et.

al., 991 F.3d 529 (4th Cir. 2021) [Doc. No. 378]. The Appeals Court mandate issued on May 5,

2021. [Doc. No 383].

        Overall, the Fourth Circuit concluded that “[i]n conditionally granting a new trial, . . . the

court failed to ‘adequately . . . take into account judicially recognized factors constraining’ its

authority and rested its decision on ‘erroneous . . . legal premises[]’” and therefore “abused its

discretion.” Opinion at PageID# 40. More specifically, the Court of Appeals concluded that

none of the Court’s four grounds for conditionally granting a new trial were sufficient. The

Court of Appeals found three of those grounds erroneous as a matter of law 3 and with respect to

the Court’s conclusion that the verdict was against the great weight of the evidence, the Court of

Appeals observed and concluded as follows:



3
  Those three rejected grounds related to what the Court thought were inadequate jury instructions on the use of the
large number of hearsay statements introduced into evidence, the role of Michael Flynn and the mens rea element of
the “legal commercial transaction” exception under § 951.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 4 of 51 PageID# 5691




       The court carefully explained its decision to acquit Rafiekian, parsing the Government’s
       evidence before finding it insufficient to support the convictions. But in ordering a
       conditional new trial based on the weight of the evidence, the court simply harkened back
       to its acquittal analysis: “[G]iven the great weight of the evidence, as detailed above, the
       Court also . . . conditionally orders a new trial. . . .”

       That explanation is insufficient. As we recently held, we will not affirm the grant of a
       new trial on weight-of-the-evidence grounds where the district court “offered only a
       single sentence to explain its decision . . ., and its reasoning on th[e] issue rested entirely
       on its reasoning [in support of] a judgment of acquittal.” [United States v.]Millender, 970
       F.3d [523,] 531-32 [4th Cir. 2020].

       Indeed, Federal Rule of Criminal Procedure 29 requires a court to “specify [its] reasons
       for” conditionally granting a new trial. Fed. R. Crim. P. 29(d)(1). Here, however, in
       conditionally granting a new trial based on the “great weight of the evidence” the district
       court simply pointed back to its acquittal analysis without further elaboration. As
       described above, we conclude that the evidence was sufficient to support the verdict.
       Consistent with that determination, we reject those same reasons, standing alone, as a
       proper basis for granting a new trial. See Millender, 970 F.3d at 531-32; United States v.
       Wood, F. App’x 910, 911-12 (4th Cir. 2009) (per curiam).

       To be sure, the “criteria for a judgment of acquittal and for a new trial” are distinct.
       Arrington, 757 F.2d at 1486; see United States v. Campbell, 977 F.2d 854, 860 (4th Cir.
       1992) (noting that “[i]n determining the necessity of a new trial” a trial court is allowed
       to ‘draw inferences . . . unfavorable to the Government . . . from the evidence”). And
       having observed the trial in the flesh, the district court may have additional justifications
       for its decision. E.g., Campbell, 977 F.2d at 860 (trial court may weigh witnesses’
       credibility). But new trials should only be granted “sparingly.” Millender, 970 F.3d at
       531. “[O]n the record as it comes to us, we cannot say whether the court appreciated
       th[is] limit[] on its discretion” and, therefore, cannot affirm on weight-of-the-evidence
       grounds. Id. at 531-31; see also United States v. Paulus, 894 F.3d 267, 278-79 (6th Cir.
       2018).

Opinion at PageID# 35-36.

       Based on the Court of Appeals’ decision, it is now decided that Rafiekian’s convictions

are supported by sufficient evidence and the only remaining issue is whether a new trial is

warranted based on weight-of-the evidence grounds.

                                    II. LEGAL STANDARD

       Federal Rule of Criminal Procedure 33 provides that “[u]pon the defendant’s motion, the

court may vacate any judgment and grant a new trial if the interest of justice so requires.” But in

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 5 of 51 PageID# 5692




considering whether to grant a new trial, “the district court should only overturn a jury verdict in

the ‘rare circumstance’ when the verdict is against the great weight of the evidence.” United

States v. Garcia, 855 F.3d 615 (4th Cir. 2017) (internal citation omitted). Nevertheless, the

court’s authority is “much broader than when it is deciding a motion to acquit” because it is no

longer “constrained by the requirement that it view the evidence in the light most favorable to the

Government[]” and may “evaluate the credibility of the witnesses.” United States v. Arrington,

757 F.2d 1484, 1485 (4th Cir. 1985). And in that regard, a court is allowed to draw inferences

unfavorable to the Government, see United States v. Campbell, 977 F.2d 854, 860 (4th Cir.

1992), as the district court has the “advantage of observing the witnesses as they testif[y],”

United States v. Shipp, 409 F.2d 33, 36 (4th Cir. 1969). Nevertheless, the standard for

jettisoning a jury verdict in favor of a new trial remains “demanding;” and courts must exercise

their discretion to do so “sparingly,” Millender, 970 F.3d at 531–32, and only “[w]hen the

evidence weighs so heavily against the verdict that it would be unjust to enter judgment.”

Arrington, 757 F.2d at 1485.

       In assessing the weight of the evidence, the Court has also considered not only the

propriety, and necessity, of drawing inferences from circumstantial evidence, particularly as to a

conspiracy, but also the limits on drawing inferences based on circumstantial evidence. In that

regard, courts recognize that “[b]y its very nature, a conspiracy is clandestine and covert, thereby

frequently resulting in little direct evidence of such an agreement,” United States v. Burgos, 94

F.3d 849, 857 (4th Cir. 1996) (en banc), cert. denied, 519 U.S. 1151 (1997) (citing Blumenthal v.

United States, 332 U.S. 539, 557) (1947)), and may even be proved “wholly by circumstantial

evidence,” id. at 857-58 (citing Ianelli v. United States, 420 U.S. 770, 777 n.10 (1975)). But

courts have also recognized and cautioned with respect to inferences, whether favorable or



                                                 5
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 6 of 51 PageID# 5693




unfavorable, that while all evidence, whether direct or circumstantial, may serve as the basis for

a reasonable inference, upon which other reasonable inferences may be drawn, the line between

permitted inferences and impermissible speculation increasingly blurs as inferences stack upon

each other. See, e.g., Dash v. Mayweather, 731 F.3d 303, 311 (4th Cir. 2013) (articulating that a

triable issue of fact cannot be based on “the building of one inference upon another”); see also

Ford Motor Co. v. McDavid, 259 F.2d 261, 266 (4th Cir. 1958), cert. denied, 358 U.S. 908

(1958) (holding that an inference is not “permissible” when it “is so tenuous that it rests merely

upon speculation and conjecture”). This is particularly so when these principles are applied to a

conspiracy charge. See United States v. Gengler, 2009 WL 5549225, at *8 (E.D. Va. Oct. 23,

2009) (citing Harms v. United States, 272 F.2d 478, 483 (4th Cir. 1959)) (stating the conspiracy

and the defendant’s participation in it “must be more than mere speculation and conjecture,” and

a conspiratorial agreement may not be established through unreasonable inferences or

speculation based on an attenuated series of speculative inferences).

                                               III. ANALYSIS

        A. Defendant’s Conviction under Section 951(a) (Count Two)

        Section 951(a) provides that “[w]hoever, other than a diplomatic or consular officer or

attaché, acts in the United States as an agent of a foreign government without prior notification

to the Attorney General . . . shall be fined under this title or imprisoned not more than ten years,

or both.” Subsection (d) defines an “agent of a foreign government” as “an individual who

agrees to operate within the United States subject to the direction or control of a foreign

government or official, except that such term does not include,” in relevant part, “any person

engaged in a legal commercial transaction.” 4 Applicable DOJ regulations define “agents” for


4
  Under 18 U.S.C. § 951(e), the legal commercial transaction exemption in 18 U.S.C. § 951(d)(4) does not apply to
those acting on behalf of certain designated foreign governments, which do not include the government of Turkey.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 7 of 51 PageID# 5694




purposes of Section 951 as “all individuals acting as representatives of, or on behalf of, a foreign

government or official, who are subject to the direction or control of that foreign government or

official, and who are not specifically excluded by the terms of [Section 951] or the regulations

thereunder.” 5 28 C.F.R. § 73.1(a). As reflected in these definitions, for a person to be an agent

for purposes of Section 951, it is not enough to be acting as “a representative of” or “on behalf

of” a foreign principal. Similarly, as discussed below, it is not enough that a person is

“financed,” subsidized,” or “supervised” by a foreign principal. 6 Rather, that person must have

agreed to “to operate within the United States subject to the direction or control of a foreign

government.” 18 U.S.C 951(d).

         In deciding to acquit Rafiekian, the Court reviewed the meaning to be ascribed to the

word “agent” in Section 951. In that regard, the Court concluded that “[t]he word “agent” has a

well-established common law meaning, as does the term “direction or control” within the context

of agency, citing, inter alia, Restatement (Third) of Agency § 1.01 (Am. L. Inst. 2006)

(providing that an agency relationship arises “when one person (a ‘principal’) manifests assent to

another person (an ‘agent’) that the agent shall act on the principal’s behalf and subject to the

principal’s control, and the agent manifests assent or otherwise consents so to act”); see also

Restatement (Second) of Agency § 14 cmt. a (Am. L. Inst. 1958) (“[T]he agent is subject to a

duty not to act contrary to the principal’s directions.”); id. cmt. b. (noting that the principal “has

power to give lawful directions which the agent is under a duty to obey . . .”).




5
  This definition was promulgated pursuant to 18 U.S.C. § 951(b), which provides that “[t]he Attorney General shall
promulgate rules and regulations establishing the requirements for notification.”
6
  In these respects, § 951 differs fundamentally in scope from § 611(c)(1) of FARA, which includes “any person
who acts as an agent, representative, employee, or servant, or any person who acts in any other capacity at the order,
request, or under the direction or control, of a foreign principal or of a person any of whose activities are directly or
indirectly supervised, directed, controlled, finance, or subsidized in whole or in major part by a foreign principal…"

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 8 of 51 PageID# 5695




       In its decision, the Court of Appeals “largely agree[d] with [this Court] that, similar to

common-law agency, § 951’s definition of ‘agent’ envisions a mutual agreement to operate

subject to foreign direction or control.” Opinion at PageID# 5313. However, the Court of

Appeals “part[ed] ways with [this Court] as to the degree of foreign involvement required to

violate § 951.” Id. In that regard, the Court of Appeals concluded that the agency required

under § 951 is not limited to “something akin to an employer-employee relationship, with a

foreign government dictating both a desired end and the more granular means of performance.”

Id. at 5416 (emphasis in Opinion). Rather, “an independent contractor may also be an agent—

while still retaining significant discretion over the particulars of performance—so long as he

‘contracts to act on account of the principal.’” Id. at 5416-17. Nevertheless, “[o]ne thing is clear

right off the bat: To fall within section § 951’s ambit, a person must do more than act in parallel

with a foreign government’s interest or pursue a mutual goal. An ‘agent’ further ‘agrees to

operate . . . subject to the direction or control’ of that government.” Id. at PageID# 5413

(emphasis in Opinion). On that point, the Fourth Circuit rejected, as did this Court, the

Government’s broad expansive reading of § 951, comparable in scope to § 611(c)(1) of FARA,

under which reading of § 951 “a person becomes an ‘agent’ for the purposes of § 951 whenever

he ‘is willing to do something the foreign principal requests,’” id. at PageID# 5415, as well as

the Government’s contention that for the purposes of § 951 “it’s possible to ‘agree[] to operate’

subject to foreign authority (and therefore become an agent) ‘unilaterally’—that is, without a

foreign government’s participation and assent,” id. at PageID# 5417. On those issues, the Court

of Appeals cited with approval Restatement (Second) § 1, which states that “agency results from

the manifestation of consent by one person to another that the other shall act on his

behalf . . . and consent by the other so to act.” Id. The Court of Appeals continues, explaining



                                                 8
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 9 of 51 PageID# 5696




“given the stiff penalties for a § 951 violation, we decline to infer a congressional intention to

depart from that foundation [in Restatement (Second) § 1] and impose the statute’s disclosure

requirement on every wannabe emissary in the absence of explicit language to that effect.

Whether an agent-principal relationship is established by direct contact or via an intermediary,

§ 951 requires a foreign government or official on one end of the line.” Id. It also cited with

approval United States v. Chung, 659 F.3d 815, 823 (9th Cir. 2011), for the proposition that “to

prove a § 951 violation, the Government must establish both that the defendant intended to

operate subject to a foreign government’s direction or control and ‘also . . . that a [foreign]

official directed or controlled [his] actions.” Id. at PageID# 5417-18 (emphasis in original). “In

sum,” the Court of Appeals concluded, …[t]hat agreement [to operate subject to foreign

direction or control] cannot be one-sided, and a person does not become an ‘agent’ for purposes

of § 951 simply by acting in accordance with foreign interests or by privately pledging

allegiance.” Id. at PageID# 5418. On the other hand, “a foreign principal’s involvement does

not need to mirror an employer’s control over the workings of an employee; a lesser degree of

‘direction’ is sufficient, as it would be under the common law.” Id. at PageID# 5418. 7

         Briefly summarized, the Government’s theory of the case was that Rafiekian was

recruited by Alptekin to be a secret Turkish agent, Project Truth was created for that purpose,

and Project Confidence, ostensibly on behalf of Alptekin’s company, Inovo, BV (“Inovo”) ,was

simply a continuation of Project Truth under a different name in order to conceal Rafiekian’s

operating as an undisclosed Turkish agent, as evidenced most clearly by the Flynn Intel Group’s


7
  The Court of Appeals further observed that “[t]he line between an ‘agent’ who works under a foreign
government’s ‘control’ and one who, instead, agrees to operate subject to a more hands-off form of ‘direction’—as
an agent-independent contractor could—might be a hazy one. Still, we find no reason to believe that Congress
sought to exclude the latter variety of agency from § 951’s reach.” Opinion at PageID# 5417. Nevertheless, in
assessing the weight of the evidence for the purposes of § 951, the strength of any inculpatory inferences to be
drawn from a “more hands-off form of direction” must take into account the often attenuated, ambiguous nature of
that type of “direction or control,” particularly in the absence of more direct evidence of the required agreement.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 10 of 51 PageID# 5697




(“FIG”) singular focus on discrediting Gulen, which the Government claimed had nothing to do

with the stated purpose of Project Confidence, promoting tourism and investment in the Turkish

economy. See e.g., Trial Tr. [Doc. No. 324] at 43:24-44:3 (Opening Statement); Trial Tr. [Doc.

No. 351] at 1129:17-1130:2 (Closing Summation); id. at 1132:18-25 (Closing Summation); id. at

1136:20-22 (Closing Summation). In short, the Government alleged Turkey was, in fact, the real

client, acting through Inovo and Alptekin, and the contract with Inovo was essentially cover for

Rafiekian to operate subject to Turkish direction and control. As discussed below, in making

that case, the Government essentially argues that all of the exculpatory direct evidence the

Government introduced pertaining to who was FIG’s client, the nature of the relationship

between FIG and that client, the purpose and objectives of Project Confidence, and how the

investigation into Gulen related to that Project Confidence should be disbelieved in favor of

inculpatory inferences drawn from ambiguous aspects of circumstantial evidence viewed within

a limited context.

        In finding the evidence sufficient to sustain Rafiekian’s conviction on Count Two, the

Court of Appeals recognized that:

        The list of evidence that the Government did not produce at trial is long. No emails
        or phone calls between Rafiekian and any Turkish official. No bank records tracing
        the flow of funds back to governmental accounts. No direct evidence clarifying
        Alptekin’s role vis-à-vis Turkey. No live testimony from Rafiekian, Flynn, or
        Alptekin.

Opinion at PageID# 5425-26. 8 Nevertheless, the Court of Appeals concluded based on the

evidentiary record that did exist “[t]hat arrangement [with FIG and Rafiekian] strongly suggests




8
 In looking for such evidence, the Government seized and searched Rafiekian’s and Alptekin’s email and Skype
communications, consisting of hundreds of thousands of items. See Trial Tr. [Doc. No. 333] at 769:20-770:18
(Alfredo). The Government also requested through the MLAT process financial records from the Netherlands
pertaining to Inovo and Alptekin, but did not attempt to obtain through the MLAT process information from Turkey.
See Trial Tr. [Doc. No. 330] at 384:22-385:11 (Smith); Trial Tr. [Doc. No. 333] at 790:17-25 (Alfredo).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 11 of 51 PageID# 5698




that an entity other than Alptekin was actually financing Project Confidence, albeit through

Alptekin’s bank account[]” and “a reasonable inference—one a rational juror could embrace in

light of the other evidence of Turkey’s involvement—is that Turkey was that entity, with the

‘kickback’ payments serving as Alptekin’s commission for acting as a go-between.” Id. at

PageID# 5428-29. Similarly, the Court of Appeals concluded that “a rational juror could

conclude that Project Truth was synonymous with Project Confidence; that the Turkish

government was, in fact, behind the project; that, through Alptekin, Turkey communicated both

general and specific instructions; and that Rafiekian hewed to those directions over the life of the

engagement—all without notifying the Attorney General[,]” id. at PageID# 5430, and that “a

rational juror could infer that Rafiekian ‘agree[d]’ to perform work for Turkey, and that the

assent was mutual,” id. at PageID# 5427. 9

         For the purpose of determining whether a new trial is warranted based on the weight of

the evidence, the Court has reviewed in detail the entire evidentiary trial record relative to the

essential elements of the offense, as explained by the Fourth Circuit. 10 That determination rests

ultimately, not on the relationship between Project Truth and Project Confidence or who retained

or funded FIG’s engagement, but rather on whether under whatever arrangement was in place,

“the defendant intended to operate subject to a foreign government’s direction or control and




9
  Those inferences supporting Rafiekian’s conviction were drawn from: (1) Rafiekian’s communications with
Alptekin and the FIG team, including the periodic reporting to Alptekin; (2) the payments from and to Alptekin; (3)
Rafiekian’s statements to FIG’s lawyers concerning the identity of FIG’s client and the nature and extent of Turkish
involvement; (4) a meeting with officials from the Turkish government in New York City on September 19, 2016,
attended by Rafiekian; (5) Rafiekian’s post meeting statements; (6) Rafiekian’s praising President
Erdogan as the only Muslim head of state capable of ‘lead[ing] the campaign against Radical Islam;’” (7)
Rafiekian’s statement to one of his employees that “if they played their cards right, [FIG] might garner ‘a follow-on
contract worth $5 million’—the implication being that the firm had already been engaged, if only preliminarily, by
Turkey;” and (8) the publication of Flynn’s op-ed in The Hill on November 8, 2016. See Opinion at PageID# 5426-
30.
10
   In its Memorandum Opinion dated September 24, 2019, [Doc. No. 372], the Court reviewed the evidence in detail
and restates that evidence here only to the extent pertinent to the pending Renewed Motion for a New Trial.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 12 of 51 PageID# 5699




‘also . . . that a [foreign] official directed or controlled [his] actions.” Id. at PageID# 5417-18.

As discussed in detail below, when assessed, not solely in a light most favorable to the

Government, but as a whole, including witness credibility, the evidence and inferences that

support Rafiekian’s convictions lose much of their strength; and the evidence as a whole weighs

heavily in favor of much more persuasive competing exculpatory inference with respect to the

dispositive issue of “direction or control,” viz., that Rafiekian did not intend to operate, agree to

operate, or in fact, operate, subject to Turkey’s direction or control, even though Rafiekian had

notice that Inovo entered into its contractual relationship with FIG with Turkey’s knowledge and

at least its implicit approval.

         In assessing the overall weight of the evidence, the Court begins with Rafiekian’s

communications and interactions with Alptekin and the FIG team leading up to Flynn’s signing

the Independent Advisory Services Agreement with Inovo on September 8, 2016 (the

“Agreement”), which communications are the evidentiary heart of the case. 11

         The first contact in the record between Rafiekian and Alptekin, who appear to have been

previously acquainted, 12 was on July 26, 2016, GEX 67 at 1, followed by a written exchange on

July 27, 2016, GEX 8A. In that written exchange, which suggests Rafiekian and Alptekin had

already spoken, Rafiekian stated that “[w]e are ready to engage” and “[a]t the right time, I will


11
   In its Memorandum Opinion and Order dated July 9, 2019 [Doc. No. 292] (the “July 9 Order”), the Court
concluded that the out-of-court hearsay statements of Alptekin and Flynn were not admissible under the co-
conspirator exception to the hearsay rule set forth in Fed. R. Evid. 801(d)(2)(E); and these documents were admitted
for the limited purpose of showing what information was received by Rafiekian, not for the truth of the matters
asserted in those statements. See e.g., Trial Tr. 154:6-9, [Doc. No. 325] (Rosecrans) (admitting GEX 9 “solely for
the purpose of establishing what Mr. Rafiekian received, the information he received, and not for the truth of what’s
stated in this email”). Those rulings were not disturbed on appeal.
12
   By way of background, Rafiekian was the Vice-Chairman, Director, Secretary, and Treasurer of the Flynn Intel
Group (“FIG”), which he co-founded and co-owned with retired Lt. Gen Michael Flynn, FIG’s Chairman and CEO.
Rafiekian, a U.S. citizen, has also held a variety of public-sector positions, including serving on the board of
directors of the Export-Import Bank of the United States, a position for which he was nominated by President
George W. Bush and confirmed by the Senate. See Trial Tr. [Doc. No. 334] at 911:22-25 (Chatham). Alptekin, who
resides in Turkey, had served as Chairman of the Turkish-American Business Council and is the owner of Inovo,
BV, a Dutch corporation, located in the Netherlands.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 13 of 51 PageID# 5700




include our partners in the communications.” GEX 8A. On July 29, 2016, Alptekin reported

that he had met with the Foreign Minister [“MC”], “who asked [Alptekin] what kind of output

we can generate on the short and mid-term as well as an indicative budget.” GEX 9. On July 30,

2016, Rafiekian emailed Alptekin, with a copy to Flynn, that he and Flynn had discussed the

broad contours of the “truth” campaign and outlined a “PHASE ZERO” for planning purposes.

GEX 10. He further advised that they needed to discuss “a more expanded design and

implementation of selected path” and “execution now at a managed cost and time frame.” Id.

Flynn responded that same day thanking Rafiekian for “putting these thoughts and plans

together” and stating that “there must be a sense of urgency in execution.” GEX 10A. On

August 2, 2016, Rafiekian emailed Alptekin that “[w]e have high confidence on the direction of

the work” and “[w]e will need to bring in other specialists which I will talk to you about when

we can Skype.” GEX 11. On August 4, 2016, Rafiekian reported that “[w]e [Rafiekian and

Flynn] are arranging key pieces needed for operationalizing our plan.” GEX 13. That same day,

Alptekin thanked Rafiekian and responded that he had “met with the MFA [Foreign Minister]

and explained our proposed approach.” Id. (emphasis added).

       On August 8, 2016, Alptekin reported that his discussions had shifted from the Foreign

Minister to the Minister of Economy, to whom he explained “what we can offer.” GEX 14. On

August 10, 2016, Alptekin reported that he had several more meetings with the Minister of

Economy and the Foreign Minister and he has “a green light to discuss confidentiality, budget

and the scope of the contract.” GEX 16 (emphasis added). Then on August 11, 2016, Rafiekian

responded to Alptekin in advance of a scheduled phone call and proposed a “confidence through

clarity” project as follows:

       MF [Michael Flynn] and I spent some time on the campaign design and end product
       as well as resource allocation. We have decided to press the cost down through the

                                               13
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 14 of 51 PageID# 5701




       design of an effective “end product” that is portable, durable and easily distributed
       through the net. If you have some time on Skype, I can go over some details with
       you. Bad news is that I could not squeeze enough to fit the figures you mentioned.
       The good news is that I was able to stay in the neighborhood. The challenge was in
       the cost of specialist that I mentioned to you. So, our cost will not include PR. I did
       not touch the advisory support we discussed at 20%.

       Mike and I have activated the FIG LAB as of tonight and ready to push the start
       button immediately.

       Engagement purpose: the business community is engaging FIG to restore
       “confidence through clarity” in the trade and investment climate.

GEX 17 (emphasis added).

       That same day, in an email with the subject line “CONFIDENCE THROUGH CLARITY

CAMPAIGN-Operation Confidence,” Rafiekian reported to Mike Flynn and Phil Oakley,

another member of FIG, that “[w]e are about to be engaged by a Dutch client for the above

campaign” and that he “ha[s] been given high confidence that this engagement is imminent.” He

then repeated the Phase Zero outline circulated on July 30, and stated that “[t]he end ‘product’ is

a video production (We have a success record with a similar effort)” and that “[t]he product will

be credible, effective and durable in validity with maximum case for distribution and broadcast.”

GEX 18A. He proposed that he “clarify roles and execution” and in that regard stated that “[t]his

campaign will be led by Mike [Flynn].” Id. Attached was a detailed budget with a detailed

allocation of costs, which was labelled “A FIG Initiative,” with the following description of what

was being budgeted:

       Confidence through Clarity
       The business community is interested in bringing back business confidence[.]
       A Dutch business consulting firm is engaging FIG to lead the campaign[.]
       The duration of Phase Zero will be 90 days.
       The final product will be a 30-45 minute video.
       Write scenario, direct production, produce video.

GEX 18B.



                                                 14
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 15 of 51 PageID# 5702




        Two weeks later, on August 25, 2016, Alptekin notified Rafiekian that “[w]e are

confirmed to go.” GEX 20. He also advised Rafiekian that he was “[m]eeting him [presumably

President Erdogan] 13 tomorrow for details . . . on [Foreign Minister] “mc’s request . . . for final

instructions.” Id.

        There is little evidence of further communications between Alptekin and Rafiekian

concerning the proposed engagement between August 11 and August 25, 2016. 14 Nevertheless,

over those two weeks, Rafiekian continued to work with others within FIG and its team in

anticipation of the engagement to define precisely the work to be performed, as outlined to

Alptekin on August 11. For example, on August 13, 2016, Rafiekian reported to Alptekin that he

had contacted Jim Courtovich of Sphere, GEX 67B, and confirmed on August 14 that Courtovich

was “onboard.” GEX 67C.

        On August 16, 2016, FIG met with Sphere. See GEX 96A (referencing on August 18 a

meeting on August 16). Two days later, on August 18, 2016, Sphere submitted a proposal to

FIG titled “Partnership to Promote a Prosperous and Stable Turkey.” GEX 96A; 96B. That

proposal contained a detailed “Plan of Action,” which listed the “Objectives” of the engagement

and its “Strategic Approach.” GEX 96B; see also Trial Tr. [Doc. No. 333] at 701:24-702:3

(Courtovich); Trial Tr. [Doc. No. 331] at 602:22-604:5 (Miller). As Sphere’s members

explained, when called as government witnesses, their proposal, built around the identified

“Objectives” and “Strategic Approach,” reflected what they understood was the purpose of

Project Confidence as explained to them by Rafiekian, namely, to restore confidence in the




13
   Alptekin in that same Skype message referred to “him” as “No. 1” and “mc’s boss[,] not direct boss but u know
who.” GEX 20.
14
   For those few communications, see GEX 67B and 67C (two Skype messages dated August 13 and 14, 2016, in
which Rafiekian informs Alptekin that he has reached out to and connected with Courtovich) and GEX 67D (a third
Skype message in which Rafiekian tells Alptekin that he is available to speak with him).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 16 of 51 PageID# 5703




Turkish government, and derivatively, the Turkish economy and investment environment. Those

objectives would be addressed by “[t]hwart[ing] negative attacks from opponents, and expos[ing]

any efforts to disrupt the nation’s stability for political purposes,” GEX 96B at 1, as well as

“improv[ing] public understanding of the root causes of Turkey’s political turmoil and

expos[ing] the vast network and organization of the nation’s adversaries,” GEX 111 at 1. They

also explained that they understood the central connection between those objectives and their

focus on exposing Gulen’s activities. 15 Concerning the video, Sphere insisted that it produce as

well as promote the Gulen video in order to maintain control over its “fact-based and unbiased”

content in order to withstand scrutiny and be “credible, effective and durable in validity.” Trial

Tr. [Doc. No. 331] at 603:22-604:5 (Miller); and GEX 18A.

         Once Rafiekian received Alptekin’s August 25 confirmation, Rafiekian thanked Alptekin

“for informing us of your decision to engage Flynn Intel Group on Operation ‘CONFIDENCE,’”

GEX 19, and advised Alptekin that he had mobilized the team that he has assembled in

anticipation of the engagement in order to execute on the work that had been defined by FIG and

its team, see GEX 20 (“I [Rafiekian] will engage the film crew now. All good to go. Looking

forward to catching up on Skype. I will send you an email on the virtru channel.”); see also GEX



15
  See GEX 96B (August 18, 2016 memo from Courtovich to Flynn confirming that “this effort would be funded
directly by private businesses seeking to improve investment in business to drive a stronger economy” and one
objective was to “[p]roduce and promote a documentary style video that uses fact-based, unbiased information and
research to 1) highlight [Gulen]’s network of loyalists and his influence over them and 2) showcase a resilient
investment climate in the wake of the recent attempted coup”); Trial Tr. [Doc. No. 331] at 635:3-636:7 (Miller)
(understanding from Sphere’s first meeting with Rafiekian was that there was a connection between Gulen, the coup
and economic stability in Turkey); Trial Tr. [Doc. No. 333] at 705:4-20 (Courtovich) (Rafiekian explained “private
investors around the world are not understanding the Gulen role in trying to drive instability in Turkey and,
therefore, can’t understand or put in context the reaction by the Erdogan administration” and that the insurgency and
the activities to destabilize Turkey were being funded by Gulen with dollars generated by his charter schools in the
United States); Trial Tr. [Doc. No. 333] at 682:12-14; 682:18-25; 685:l3-7 (Lowman) (stating Rafiekian explained
the need to explain why the coup occurred, why Turkish business interests, including elements of travel and tourism,
were concerned about the perception of Turkey at the time and their needs to balance that perception by
“inform[ing] people of the actors involved so that perception wasn’t that Erdogan’s actions [in reaction to the coup]
were out of thin air”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 17 of 51 PageID# 5704




19 (confirming that he had “activated our ‘FIG LAB’, placed our principal team members in

formation and engaged the film crew in preparation for launching this engagement”). He then

outlined the following schedule of actions:

           • Send draft engagement letter between your company in the Netherlands and Flynn
             Intel Group (Please send us the full legal name of your Dutch entity and
             address”). We will send our draft engagement letter by no later than Sunday,
             August 28, 2016.
           • Finalize the allocation of cost for Sphere ($50K or $30K per month for 3 months)
             and let us know at your earliest convenience so that we can prepare the
             engagement letter accordingly.
           • Along with the draft engagement agreement, . . . issue an invoice for the first
             month in the amount of $180K or $200K (depending on the allocation for Sphere)
             payable with the execution of the engagement letter (target execution/launch date
             of September 1, 2016).
           GEX 19.

       Towards the end of August and early September 2016, Rafiekian sought out legal counsel

from the Covington law firm concerning what he thought was a need to file under the Foreign

Agents Registration Act (“FARA”), and when Covington declined the representation because of

political alignments in the firm, he consulted with Robert Kelley, Esq., who advised that because

Rafiekian, when asked, identified the client as Inovo, a private company, and that some lobbying

was contemplated, a filing under FARA was not required and a filing, instead, could be made the

Lobbying Disclosure Act (“the LDA”), which he subsequently made on behalf of FIG.

       In a Skype message to Rafiekian on August 30, 2016, Alptekin advised “We

are . . . scheduling a meet with MF [Flynn] and MC [Foreign Minister] and perhaps even RTE

[Turkish President Erdogan] in third week of NY. Will keep you posted.” GEX 21 (referring to

the meeting that ultimately took place in New York on September 19, 2016).

       On September 1, 2016, Rafiekian advised Alptekin as follows:

       Our team formation is complete. Brian McCauley a FIG principal former Deputy
       Assistant Director of FBI is on board with two of his best former officers. I have
       not sent you the engagement document because I have hired a law firm and they

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 18 of 51 PageID# 5705




         are reviewing for compliance. We will absorb this extra cost. No impact on your
         firm. Can you please send me the name and address of your company who will be
         our client?

GEX 67H.

         On September 2, 2016, Alptekin confirmed the identity of the client as follows:

         INOVO BV
         Adriaanstraadt 47
         3581 SC Utrecht
         The Netherlands
         VAT NL8146.45.756B02

Id.

         On September 3, 2016, Rafiekian forwarded to Alptekin the proposed Agreement

between FIG and Inovo and stated that “[t]ime is of the essence and we would like to execute

this agreement as we planned together. We need every single day of this 90 days scope to execute

our precision plan.” GEX 22A (emphasis added). On September 4, 2016, Alptekin responded

the “[o]nly comment is that we need to make it more explicit agreement min. period is 3 month.

Subsequently contract can we [sic] renewed for another year and each party can cancel with a

month’s notice?” GEX 67I.

         On September 5, 2016, to facilitate the execution of FIG’s “precision plan,” Rafiekian

prepared a “draft playbook” (the “Playbook”), which he sent to Flynn along with Sphere’s Plan

of Action, proposed assignments, and a proposed schedule, together with the suggestion that “the

playbook and assignments go out from [Flynn’s] office with instructions to the team setting

target dates and delivery of their expected products.” GEX 23A (boldface in original).

Towards that end, the Playbook identified a team of nineteen persons, none of whom other than

Rafiekian the Government contends was acting as a Turkish agent, 16 the “Mission” of the


16
   Following its in-court admission that Flynn was not part of the alleged conspiracy and that it would not rely upon
his testimony to establish the foundation for the admission of Alptekin’s hearsay statements under Fed. R. Evid.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 19 of 51 PageID# 5706




engagement 17 and the “[e]nd product” of the engagement, which was confirmed as “[a] 60

minutes video production documenting the investigations.” GEX 23B. The project was to be

carefully budgeted; and even the extent of FIG’s progress reports to Alptekin was to be defined,

including that Flynn would participate in one hour (later reduced to 30 minute) “weekly briefings

with [Inovo]/client.” GEX 23A at 1, 3.

         On September 8, 2016, Flynn signed the Agreement on behalf of FIG. That same day, in

a Skype message to Rafiekian, Alptekin advised that he “will send the agreement,” “just left

pm’s office.” GEX 67J. On September 9, 2016, a $200,000 wire transfer from Alptekin’s bank

account was deposited into FIG’s account, as required under the Agreement. See GEX 25A at 3.

         Based on what Alptekin explained to Rafiekian, as recited above, it would have likely

appeared to Rafiekian as of the time FIG entered into an Agreement with Inovo that Alptekin,

not Turkish officials, first came up with the idea of an engagement with FIG, and a strong

inference is easily drawn that Alptekin first contacted Turkish officials on his own initiative for a

variety of possible reasons and then lobbied Turkish officials for their blessings. 18 In short,

Alptekin appears to be very much the kind of “wannabe emissary” whose conduct the Fourth




801(d)(2)(E), see June 13, 2019, Hearing Tr. 65:9-22, [Doc. No. 213]; see also [Doc. No. 109] (Government’s Bill
of Particulars not listing Flynn as a co-conspirator whose statements would be used at trial), the Government filed on
July 3, 2019, a Notice of Correction to the Record, [Doc. No. 261], in which it advised the Court that it no longer
planned to call Flynn as a witness in its case in chief and now considered Flynn a co-conspirator, whose out-of court
statements it would seek to introduce pursuant to Fed. R. Evid. 801(d)(2)(E).
17
   The “Mission” was defined as the investigation and documentation of the activities of “X,” known to be Fethullah
Gulen, including his ideology, influence, and relationships with American political leaders. See GEX 23B at 1-2;
see also Trial Tr. [Doc. No. 330] 472:9-12 (Boston) (confirming that “X” referred to Gulen); GEX 23B at 1 (listing
as a “Mission” task “[r]egister[ing] under [the] Lobbying Disclosure Act representing a Dutch entity,” a task that
was assigned to Bob Kelley, a lawyer who was to fill the Legal & Compliance role on the team for the engagement).
18
   Without discounting that Alptekin may have acted out of more altruistic motives, there is a reasonably strong
inference that Alptekin’s objective was to drum up business for himself through commissions or consulting fees or
to ingratiate himself with the Turkish leadership by arranging for services consistent with Turkey’s efforts to have
Gulan extradited. In that regard, Alptekin’s role as a promoter/facilitator is also reflected in his efforts to facilitate
Sphere’s bidding on an RFP issued by the Turkish government. See Trial Tr. [Doc. No. 331] at 650:4-11 (Miller);
Trial Tr. [Doc. No. 333] at 751:13-752:21; 753:16-17 (Courtovich); see also DEX 51.

                                                           19
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 20 of 51 PageID# 5707




Circuit cautioned should not quickly be attributed to a foreign government. See Opinion at

PageID# 5417.

        On the other hand, as the Court of Appeals emphasized, those communications also

placed Rafiekian on notice that Alptekin was discussing FIG’s engagement with the highest

levels of the Turkish government, and that the Turkish government had given its blessings or

even approval before FIG’s agreement with Inovo was consummated. They also show that

Rafiekian had expressed sentiments supportive of Turkey’s President and their efforts to have

Gulen extradited back to Turkey. But, as the Court of Appeals also observed, there was “[n]o

direct evidence clarifying Alptekin’s role vis-à-vis Turkey.” Opinion at PageID# 5426. Rather,

Alptekin was Rafiekian’s sole source of any information concerning Alptekin’s role, what was

being requested of FIG and Rafiekian, and by whom; and Alptekin also provided to others

involved in Project Confidence the information Alptekin provided to Rafiekian. 19 In that regard,

the only evidence directly addressing the identity of FIG’s client, nearly all of which was

introduced by the Government, was that Inovo was, in fact, the client FIG contracted with, Inovo

was a real company, owned by Alptekin, who consistently told Rafiekian and others within FIG

and its team that Inovo was the client, funded by Turkish businessmen, and Rafiekian never

received any information otherwise. There are no statements or suggestions to or by Rafiekian in

his communications with Alptekin leading up to the Agreement that Rafiekian would be acting

subject to the direction or control of the Turkish government, that any such direction was needed

or expected or that directions would, in fact, be forthcoming from Turkey through Alptekin.




19
  See Trial Tr. [Doc. No. 330] at 396:20-397:17 (McCauley) (describing his first call with Alptekin in which he
described a “potential project” involving “[s]ome wealthy Turkish businessmen . . . concerned about the future of
Turkey, and they were interested in possibly hiring FIG to look at Gulen”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 21 of 51 PageID# 5708




        Nor can one easily infer from the “rebranding” of Project Truth to Project Confidence,

see Opinion at PageID# 5428, that Rafiekian was really working for Turkey, with Alptekin as its

intermediary, or, more importantly, that Rafiekian understood that he was expected to operate

subject to Turkish direction and control. As discussed above, there is no dispute that Alptekin

was Rafiekian’s only source of information concerning who the client was; and the move from

“Truth” (a name that appears to have originated with Rafiekian when he thought that Turkey

might be the client) to Project Confidence (which Rafiekian also seems to have come up with on

his own when he was ostensibly told that the client might be other than Turkey) played out over

more than “12 hours” or “overnight” as the Government argued 20; rather, it appears to have

emerged over a period of more than two weeks, from September 8, when Alptekin’s discussions

shifted from the Foreign Minister to the Minister of Economy, to August 25, when Alptekin

confirmed the engagement. Moreover, while Phase Zero of Project Truth and Project

Confidence were essentially the same, compare GEX 10 with GEX 18A, that initial outline

appears generic to any project.

        Central to the Government liability theory is that investigating Gulen necessarily

pertained to Project Truth (with Turkey as the client) and had nothing to do with Project

Confidence’s purported purpose of restoring confidence in the Turkish trade and investment

climate, and that Rafiekian and Alptekin concocted Project Confidence as a “cover story” and a

“fig leaf” to continue actually representing the Turkish government as the client. 21 But the


20
   See Trial Tr. [Doc. No. 351] at 1129:20-24 (Closing Summation) (“You’re supposed to believe that in 12 hours,
that magically appeared without them saying a word about it, and then mysteriously out of the mist comes this other
project, completely unrelated, another project, and that all happens overnight.”).
21
   See Trial Tr. [Doc. No. 324] at 44:1-3 (Opening Statement) (”[I]t was always the same project, a project focused
on discrediting Fethullah Gulen in the eyes of the American public.”); Trial Tr. [Doc. No. 351] at 1128:16-22
(Closing) (“And what you've heard from all the [] witnesses is while this [confidence in investment] may have been
some sort of fig leaf that they came up with to get their story straight, never was that a serious objective of this
project. It was always about getting dirt on Gulen and getting him extradited and making sure that Erdogan was
viewed favorably by the United States government and – and the people of the United States."); 1129:24-1130:10

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 22 of 51 PageID# 5709




evidence was quite the opposite. As confirmed by the Government’s witnesses, everyone on the

FIG team understood that investigating and disclosing Gulen’s activities was viewed as central to

achieving the objectives of Project Confidence—restoring stability in the Turkish government

and economy, including Sphere, who proposed producing the video for that purpose and

developed its action plan based on the centrality of Gulen to Project Confidence’s objectives. 22

         Given the totality of the evidence, the language of Agreement itself, while certainly not

dispositive, cannot be easily dismissed as simply an effort to “commoditize[e] . . . otherwise non-

commercial endeavors” 23 or to paper over an illicit relationship. Rather, it reflects precisely the

kind of agreement that would be put in place for the kind of contemplated short term project

intended to insulate an independent contractor from outside influence, direction or control and




(“[Defendant says] …this new project [Project Confidence] has got nothing to do with the government of Turkey,
nothing to do with Gulen. What it’s about is restoring confidence in the investment climate.”); 1130:4-10 (“… we're
not all obliged to show you a smoking gun or an actual written agreement, but this is about as close as you're going
to get, because what this is is a cover story. You replace engagement purpose with cover story, and that is what this
is. Ekim, Bijan here, cover story, the business community is engaging FIG to restore confidence through clarity.”);
1132:18-25 (“Now, the end product of the whole engagement is going to be this video, as you've heard from the
witnesses, including videographer who took it, this was all about dirtying up Gulen. This had nothing to do with the
investment climate or the financial picture or the finance investments, whatever, tourism, whatever. It was single-
mindedly focused on dirtying up Gulen, portraying him as a terrorist and a fraud and getting him extradicted.”);
1136:8-22 (“[T]his playbook that the defendant drafts, and you’ll see in there the mission. . . .All about X, who you
now know is Gulen. And this has nothing to do with foreign investment in Turkey. Nothing at all. . . . And Kelley
[the lawyer Rafiekian consulted] says: Who’s the client? And the Defendant says: It’s a private entity. Lie. You
know it’s a lie. But it’s a lie.”).
22
   See Trial Tr. [Doc. No. 331] (Miller of Sphere) at 598:2-8 (stating the purpose of Project Confidence “was to
show that the root causes . . . of the coup [in Turkey], specifically the influence that Fethullah Gulen and his network
of followers might have had in orchestrating the coup . . . [and Rafiekian] discussed the negative impact it was
having on the economy of Turkey” and “[Defendant] described how Fethullah Gulen and [] his followers were
responsible for the [] coup which caused the instability that resulted in the negative economic impact”); see also
Trial Tr. [Doc. No. 331] (Miller) at 635:24-636:7; Trial Tr. [Doc. No. 333] (Courtevich) at 704:15-706:6
(“[T]hrough the whole process, Gulen was mentioned because of the nature of the video and the concern that the – –
then the clients we did not know, the business people, of how the private sector was looking at the actions of the
Erdogan administration and not understanding it in full context, which would slow private investment in Turkey, the
Turkey businesses, more importantly it was explained to us that private investors around the world are not
understanding the Gulen role in trying to drive instability in Turkey and, therefore, can’t understand or put in
context the reaction by the Erdogan administration. . . .”).
23
   See Opinion at PageID#5424 (rejecting the “legal commercial transaction” exception as an affirmative offense
element in order to not “encourage would-be agents to sidestep disclosure by commoditizing their otherwise non-
commercial endeavors”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 23 of 51 PageID# 5710




overall reflects the lack of any intent to operate subject to the direction or control of others. 24

Similarly, Rafiekian composed FIG’s Independent Advisory Service Agreement with Alptekin

so that it could be “operationalized with task orders,” GEX 25C, viz., that FIG would provide

instructions to Alptekin, and specifically stated that “the goals of the engagement” were to be

“defined by [FIG].” GEX 127B at 1.

        Overall, when Rafiekian’s above communication with Alptekin and others are considered

in their entirety, there is a strong exculpatory inference to be drawn, which heavily outweighs

any contrary inferences, that Rafiekian’s understanding of what Alptekin was suggesting to him

was not an agreement that he operate subject to the direction or control of Turkey, but rather an

arms-length, short-term research project, summarized in usable form for distribution, with some

limited lobbying, memorialized in a formal agreement that spelled out the contracting parties’

independent relationship. 25

        With respect to post-Agreement events and communications, the Fourth Circuit in

support of Rafiekian’s convictions pointed to (1) the periodic reporting and payments to and

from Alptekin; (2) the September 19, 2016, New York meeting (the “September 19 New York



24
   The Agreement recited that “[Inovo] is desirous of engaging [FIG] for a specified scope of work aimed at design
and delivery of a series of results in discovery, analysis, packaging and presentation of findings in a credible,
durable and easy to disseminate format over a period of three months from the execution of this agreement.”
GEX151B. With regard to the nature of the relationship between FIG and Inovo, the Agreement stated:
         [FIG] is not an employee or agent of [Inovo]. [FIG] is an independent contractor engaged for specific
         purpose of providing advice relating to assisting the client with accomplishing the objectives of this
         engagement. [Inovo] expects [FIG] to act with complete objectivity in the design and execution of
         its investigative mission pertaining to this engagement. Further, [Inovo] is by no means dictating to
         [FIG] a specific pre-determined outcome or a particular result. [FIG] acts in good faith and on the
         basis of best effort to obtain the goals of the engagement. The parties to this agreement recognize
         that [FIG] is not in a position to guarantee results in matters outside of [FIG]’s control.
Id. (emphasis added).
25
   As evidence of Rafiekian’s agency with the Turkish government, the Government points to Rafiekian’s lack of
disclosure to Sphere and other consultants concerning his discussions with Alptekin concerning Turkish
involvement or that Tukey was contemplated originally as the client; but whatever interest those consultants would
have had in that information, the work they in fact defined and performed was based on the information that
Rafiekian did provide.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 24 of 51 PageID# 5711




meeting” or “New York meeting”) and post-meeting statements; (3) Flynn’s Op-ed published on

November 8, 2016 (the “November 8 Op-ed” or “Op-ed”); (4) Rafiekian’s statements to

Covington; and (5) Covington’s FARA filings on behalf of FIG, Flynn and Rafiekian. The Court

has therefore also assessed the strength of inculpatory inferences drawn from that evidence in

light of all the evidence, briefly summarized below, and when so considered, they lose much of

their strength and are heavily outweighed by the same competing, more persuasive inferences

drawn from the pre-Agreement events.

          On September 13, 2016, Rafiekian contacted Alptekin to “brief [him] on what Sphere has

been doing following our plan” and “the activities of Sphere since August 15, 2016 under our

direction.” GEX 67R. On September 15, 2016, Flynn disclosed to a U.S. Government agency

that he planned on meeting with high level Turkish Officials, perhaps even President Erdogan,

DEX 6, and on September 19, 2016, Rafiekian, Flynn, and their consultants McCauley and

Woolsey met with Turkish officials in New York. From Rafiekian and FIG’s perspective, the

meeting was an opportunity to discuss issues and raise questions concerning Gulen and his

activities in the United States. 26 From Turkey’s perspective, the purpose of the meeting was to

meet with Flynn. 27 Following that meeting, Alptekin stated to Rafiekian that “their side” has

“very specific expectations,” and in response Rafiekian told Alptekin that his expectations were

“unreasonable,” “dismissed [them] immediately” and said that “we deliver what we promise.”

GEX 29. On September 28, 2016, Rafiekian voluntarily met with a U.S. Government agency

and described FIG’s involvement in raising awareness of Gulen’s charter schools and his

interaction with Alptekin, whom he described as having “senior level contacts in the Turkish

government.” DEX 14.


26
     See GEX 26A, 26B; GEX 103A, 103B; GEX 104A, 104B.
27
     See GEX 21.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 25 of 51 PageID# 5712




        As contemplated in the Agreement, FIG conducted weekly 30 minute progress reports to

Alptekin beginning on October 7, 2016, with reporting sessions thereafter on October 14, 21, 28

and November 3. In advance of each meeting, FIG (principally FIG’s Mike Boston) would

prepare “talking points” with respect to the progress of the work and also would take notes of

what was discussed. For the last progress report on November 3, 2016, which occurred with

Alptekin in person, FIG prepared a comprehensive PowerPoint of what had been done and other

materials that were forwarded to Alptekin on November 4, 5 and 7, 2016. GEX 71, 73A, 73B,

78A, 78B (Assessment Report); see also GEX 128A,128B (PowerPoint).

        With respect to payments, Inovo paid FIG $200,000 on September 9, 2016, $185,000 on

October 11, 2016 (ostensibly holding back $15,000 from the contractually required $200,000

installment), and $145,000 on November 14, 2016 (holding back $55,000). See GEX 61 at item

14. Out of the payments, FIG paid Alptekin $40,000 on September 9, 2016 and October 11,

2016 for a total of $80,000. See id. at item 15.

        On November 2, 2016, before his meeting with Alptekin on November 3, Rafiekian sent

to Alptekin what he referred to as “a 1000 word article” titled “Getting Turkey Wrong,” with a

copy to FIG’s compliance counsel Kelley, and the comment “[a] promise made is a promise

kept,” with the request that “[he] take a look and give me your thoughts at your earliest

convenience.” See GEX 45A; GEX 45B. On November 3, 2016, Rafiekian sent to Flynn a draft

of a document titled “Our Ally Turkey Is In Crisis and Needs Our Support,” which appears to be

a re-write of the article sent to Alptekin under a different title, with the request that Flynn “make

any changes you see necessary and let me know if we can release this to Sphere so that they can

place it too.” 28 GEX 70A. On November 4, 2016, Rafiekian sent that same document to


28
  He also advised Flynn that “Hank Cox cleaned up my draft and added about 150 words [and] [i]t now stands at
1147 words.” GEX 70A.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 26 of 51 PageID# 5713




Alptekin, with the comment, “I just left MF [Flynn]. The arrow has left the bow. The attached

article will be published on Monday [November 7, 2016].” On November 5, 2016, Alptekin

responded that “the general is right on target,” suggesting as edits only the misspelling of

Erdogan and Fethullah’s names. On November 5, 2016, Flynn e-mailed Rafiekian that “I am

doing some editing of the OPED but will have it ready tomorrow,” GEX 72; and on November 6,

2016, Flynn forwarded his edited Op-ed to Rafiekian with the request to “please review the

OPED one more time. I made substantive changes…don’t worry about the length. This is an

important article that will get a reaction.” GEX 76A. On November 7, 2012, Donald Trump was

elected president of the United States. On November 8, 2016, Flynn’s Op-ed was published in

The Hill newspaper. Soon thereafter, Flynn was designated President Trump’s national security

advisor, and shortly thereafter work on Project Confidence stopped and FIG ceased operating.

See GEX 61 at items 11-12, Note; see also Trial Tr. [Doc. No. 331] (Miller) at 633:8-110;

655:24-2 (Project Confidence had “fizzled out” and ultimately ended within a couple weeks of

the Op-ed’s publication).

       By letter dated November 30, 2016, DOJ’s FARA unit advised Flynn that it wanted

additional information about the November 8 Op-ed. GEX 90. Flynn did not learn of that letter

until December 24, 2016, see GEX 92 at 1, and on March 7, 2017, Covington, after an extensive

investigation, filed FARA filings on behalf of FIG, Flynn and Rafiekian. See GEX 61, 64, 65.

       Following Flynn’s signing of the Agreement on September 8, it appears the only

communications to Rafiekian from Alptekin reflecting any additional contact with Turkish

officials are (1) communications between Rafiekian and Alptekin concerning the scheduling of

the New York meeting with Turkish officials, see GEX 67O, 67P (2), Alptekin’s statement to

Rafiekian after the New York meeting that “the feedback was good,” GEX 29; and (3) possibly



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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 27 of 51 PageID# 5714




Alptekin’s reference to a conversation he had to author an Op-ed under his name. See GEX 67 at

29 (September15, 2016). As best as the Court can tell, the last communications in the record

between Rafiekian and Alptekin were a November 11, 2016 email from Rafiekian forwarding to

Alptekin a “Recommended Statement by Sphere,” GEX 83, and a January 18, 2017 email from

Alptekin forwarding his lawyer’s opinion letter to Rafiekian. See GEX 93A, 93B.

       With respect to either FIG’s contractually required periodic reports to Alptekin or the

September 19 New York meeting, only a weak inference can be drawn that Rafiekian agreed to

operate subject to the requisite Turkish direction and control or that Turkey gave or attempted to

give direction and control to Rafiekian.

       Periodic reporting within the context of a commercial services contract is hardly

surprising or suspicious; and there is little about these reporting sessions that would allow an

inference that these sessions were simply subterfuge for Turkey’s directing or controlling FIG’s

work. Those pre-arranged, contractually required weekly updates took place beginning on

October 7, 2016, did not involve any Turkish officials, and involved persons in addition to

Rafiekian, including Flynn, the engagement lead, Brian McCauley, the lead investigator, and

Mike Boston, the project coordinator, none of whom the Government has charged or contends

was operating as Turkish agents; and neither McCauley nor Boston who participated in those

reporting sessions provided any support for an inculpatory inference when called as government

witnesses. As Boston testified, Inovo was considered the client, Alptekin was viewed as the

embodiment of the client and the purpose of these weekly sessions was to inform the client

“where we were with the project” and have the client ask questions. Trial Tr. [Doc. No. 330] at

465:1-3, 17-21 (Boston).




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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 28 of 51 PageID# 5715




        The lack of any agreement to operate subject to Turkey’s direction or control is also

reflected in how Rafiekian and FIG’s consultants treated requests or suggestions for work

outside of the identified and budgeted scope of the work and Alptekin’s overall dissatisfaction

with the final work product. See Trial Tr. [Doc. No. 330] at 442:13-443:20 (McCauley); id. at

444:6-16 (McCauley). For example, when the subject of an op-ed was discussed at the October

7, 2016 meeting, Rafiekian stated that it would require additional funding; and it was viewed as

outside the scope of the engagement. See Trial Tr. [Doc. No. 330] at 483:20-486:11 (Boston).

When Alptekin wanted “dirt” on Gulen and surveillance on “Gulenists,” he was told “[w]e don’t

do that.” Trial Tr. [Doc. No. 330] at 442:24-443:20 (McCauley); id. at 444:6-22 (McCauley).

When he inquired about a financial fraud investigation into Gulen, he was told to go elsewhere

and pursue that separately outside of FIG. See id. at 435:15-24; 436:11-19. When Alptekin said

that he was looking for a terrorism investigation into Gulen, he was told he should pursue such

an investigation through the Turkish government, which subsequently invited Sphere,

independently of FIG or Rafiekian, to bid on its already publicly issued RFP. See Trial Tr.

[Doc. No. 333] at 724:6-10 (Courtovich); id. at 724:17-22 (Courtovich); id. at 729:17-730:1

(Courtovich); id. at 729:1 (Courtovich) (referring to GEX 129). When following the September

19 New York meeting, in response to Alptekin’s “we have certain expectancies” comment,

Rafiekian rejected those as unreasonable and essentially told Alptekin that that FIG would

deliver what had been contracted for. See GEX 29 (“We deliver what we promise.”). 29 And


29
   Although not mentioned by the Court of Appeals, not much “direction or control” can be drawn from Alptekin’s
“what do I tell Ankara” comment following FIG’s presentation on November 3, 2016. See Trial Tr. [Doc. No. 333]
at 723:3-11. The comment is ambiguous as to who “Ankara” is referring to, particularly given his having advised
Rafiekian and others that Turkish businessmen were funding the engagement and that the comment appears to have
been made within the context of Alptekin’s repeatedly saying “Is this what I paid for.” See Trial Tr. [Doc. No. 333]
at 723:3-9 (Courtovich); Trial Tr. [Doc. No. 330] at 431:23-432:4, 444:6-8 (McCauley). In any event, regardless of
who he was referring to, the comment, reflecting as it does Alptekin’s dissatisfaction with the end product, most
evidences the lack, not the fact, of direction or control on his part or by anyone on whose behalf he may have been
acting.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 29 of 51 PageID# 5716




when the final “deliverables” were presented to Alptekin at the final November 3, 2016 meeting,

Alptekin was unhappy. See Trial Tr. [Doc. No. 326] at 238:1-9 (“Alptekin was not happy with

it . . . .”). Any inference that Turkey was, in fact, the undisclosed client, giving directions to

Rafiekian through Alptekin, is further undercut by the lack of any evidence of any contact

between Rafiekian and Turkish officials outside of the September 19 New York meeting and the

precipitous drop-off in Alptekin’s reported interactions with Turkish officials after the

Agreement was entered into, and FIG and its consultants’ insistence on the use of open source

research and independence in determining the content of the contemplated video, as reflected in

the action plans and the formal agreements entered into. Their independence is also reflected in

at least one recommendation fundamentally at odds with Turkey’s stated position, that Turkey

withdraw its request for Gulen’s extradition. See GEX 43B; 73B at 3-4. In short, there is little,

if any, evidence other than the fact that these contractually required periodic reports to Alptekin

took place to support any inference that Alptekin, on the occasion of these periodic reports, or on

other occasions, conveyed general or specific instructions on behalf of Turkey.

       With respect to the September 19 New York meeting, the Fourth Circuit concluded that

the inference could be drawn that rather than for the purpose of obtaining “background” for

Project Confidence, as Rafiekian repeatedly told his team before the meeting, the meeting was

for the purpose of giving Rafiekian his “marching orders” and that “in alignment with the

Foreign Minister’s wishes, Flynn Intel Group ‘focus[ed] [its] efforts on ‘boxing’/‘framing’

[Gulen] as a terrorist,’ with an ‘ultimate aim’ of ‘gain[ing] a criminal referral.” Opinion at

PageID# 5429. But when the September 19 New York meeting is viewed in light of all the

evidence, any such inference from that meeting is weak, greatly outweighed by contrary

inferences.



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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 30 of 51 PageID# 5717




       As reflected in the documents submitted into evidence by the Government, from

Rafiekian’s and FIG’s perspective, the September 19 New York meeting was an opportunity to

ask questions about the current situation in Turkey as further background for Project Confidence.

See GEX 103A, 103B, 104A, 104B. From Turkey’s perspective, as conveyed to Rafiekian by

Alptekin, the September 19 New York meeting was for the purpose of getting visiting Turkish

officials together with Flynn, see GEX 21 (Alptekin’s telling Rafiekian that “[w]e are also

scheduling a meet[ing] with [Flynn] and MC [Foreign Minister] and perhaps even [President

Erdogan] in third week of NY. Will keep you posted”), and the scheduling of the meeting was

predicated on Flynn’s availability, see GEX 67O. Even the seating at that meeting reflected the

Turkish officials’ focus on Flynn. See Trial Tr. [Doc. No. 330] at 407:1-8 (McCauley). From

the perspective of one of FIG’s participants, McCauley, the purpose of the meeting was for

Alptekin and Rafiekian to demonstrate to the Turkish officials that they had the ability to bring to

the meeting some “bigshots,” i.e, Flynn and former CIA director Woolsey. See Id. at 442:4-12.

       Likewise, when considered in light of what actually happened at the September 19 New

York meeting, any inference that the meeting was used to deliver directions is weak. Rafiekian

played no role in that meeting other than to introduce himself, and there is no evidence that any

attending Turkish official ever directly spoke to Rafiekian, had previously met him, or knew

anything about him. See Trial Tr. [Doc. No. 330] at 441:3-5 (McCauley); see also id. at 440:14-

17, 442:1-3 (McCauley). FIG’s engagement was not mentioned or acknowledged; and no one on

the Turkish side made any request of any one on the FIG side to do anything. Id. [Doc. No. 330]

at 441:21-441:3 (McCauley). Rather, the agenda for the 25-to-30 minute meeting turned out to

be little more than the Foreign Minister’s narrative concerning Turkey’s perspective on Gulen as

a threat. Id. at 440:18-441:2. That narrative simply reflected Turkey’s already well known



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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 31 of 51 PageID# 5718




publicly stated views that had figured into the already defined work scope for the already

formulated engagement.

         Long before the September 19 New York meeting, Rafiekian expressed the view that

Gulen should be viewed as a jihadist comparable to Ayatollah Khomeini who had

“vulnerabilities” to be highlighted and exploited for that purpose. 30 Indeed, the Agreement, as it

was initially proposed and as it was ultimately signed, specifically referenced obtaining findings

supportive of a criminal referral. See GEX 22B; GEX 151B (“[Inovo] expects and [FIG] is

prepared to deliver findings and results including but not limited to making criminal referrals if

warranted and supported by the findings.”). In fact, the Government told the jury that “after the

New York meeting, nothing changed. The focus remained on discrediting Fethullah Gulen.”

Trial Tr. [Doc. No. 324] (Opening Statement) at 54:9-11.

         Moreover, as mentioned above, any inference that Rafiekian had received his “marching

orders” at the September 19 New York meeting is fundamentally at odds with his explicit

rejection of Alptekin’s “expectations” beyond what had been contracted for. See GEX 29

(stating that while “[Alptekin] shar[ed] some very specific expectations with [him]” with respect

to the engagement, Rafiekian “told him that the expectations are unreasonable” and “dismissed

[them] immediately”). In sum, the relied upon comments by the Turkish Foreign Minister at the

September 19 meeting simply reflected views that paralleled already held views, opinions and


30
  Those “vulnerabilities” included “illegal political contributions,” “strong indications that [Gulen] is very likely
conducting the first phase of Jihad by slowly building a global loyal force to be activated at the right time” and that
“[t]he resemblance of [Gulen’s] activities to Ayatollah Khomeini who duped the west in believing that he was a man
of the cloth and a benevolent servant of the people serves as a basis to uncover and unmask the subject’s ultimate
goal of destabilizing his home country and the region.” [Doc. No 28-1] at 3-4; see also Trial Tr. [Doc. No. 330] at
404:19-20 (McCauley’s testimony that before the September 19 meeting he and Rafiekian discussed producing “[a]
documentary [video] that would expose Gulen in violation of law and how he got into the U. S.”). See GEX 23B at
1-2 (the already developed Playbook, which identified the “[m]ission” of the engagement as the “[i]nvestigat[ion]
and document[ation] of the activities of [Gulen],” including his “ideology,” “influence,” and “relationship[s]” with
American political leaders and the “[e]nd product” of the engagement was identified as “[a] 60 minutes video
production documenting the investigations”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 32 of 51 PageID# 5719




objectives that were the basis for and reflected in the work scope that FIG had already

formulated on its own; and there is no evidence that Rafiekian dictated any changes in the scope

of that work after the September 19 meeting. For the same reasons, not much of an inculpatory

inference can be inferred from the comment about “‘boxing’/‘framing’” Gulen as a terrorist

reflected in the meeting note dated October 7, 2016, GEX 43B at 6, given the scope and purpose

of the work already formulated. 31

        When the September 19 New York meeting is viewed in a light of all the evidence,

including why it was scheduled, who attended, what was said, or what was not said, before,

during and after that meeting, and the already defined work scope, any inference of the required

agency on the part of Rafiekian is heavily outweighed by contrary inferences, and the most

generous inference to the Government to be fairly drawn from all the evidence is that FIG and/or

Sphere took notice of the comments of the Turkish Officials or “act[ed] in parallel with a foreign

government’s interests or pursue[d] a mutual goal,” none of which goes very far, given the

totality of the evidence, in establishing that Rafiekian knowingly acted as a Turkish agent

subject to its direction or control. See Opinion at PageID# 5413, 5418 (“[A] person must do

more than act in parallel with a foreign government’s interests or pursue a mutual goal” to be

deemed an agent under § 951); see also id. at PageID# 5415 (rejecting the view that “a person

becomes an ‘agent’ for the purposes of § 951 whenever he ‘is willing to do something the

foreign principal requests’”); id. at PageID# 5418 (stating that “simply by acting in accordance

with foreign interests” does not make someone an agent under § 951). Similarly, Rafiekian’s “if

they played their cards right, [FIG] might garner a ‘follow-on contract worth $5 million’”


31
  It also appears that the comments pertained to a possible future lobbying effort after the expiration of the
Agreement. See GEX 43B at 6 (“Optimistic timeline is before Christmas recess. Realistic timeline is January,
2017”); id. (“We will engage specific members of Congress to highlight [Gulen’s] activities and focus our efforts on
‘boxing’/’framing’ [Gulen] as terrorist.”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 33 of 51 PageID# 5720




comment, see Opinion at PageID# 5427, allows only a weak inference that Rafiekian had already

been engaged by Turkey, as opposed to Inovo, given that FIG already had a contract with Inovo

that contemplated follow-on work. GEX 78A (forwarding to Alptekin Sphere’s analysis and

suggestions for further investigation titled “Fethullah Gulen: A Primer for Investigators.”). In

any event, only a weak, if any, inference with respect to Turkish direction or control can be

drawn from that comment.

         Flynn’s November 8 Op-ed, coupled with Rafiekian’s “a promise made is a promise

kept” comment is also a thin reed upon which to infer Turkish direction or control over

Rafiekian. There was no claim or contention that Flynn was acting as Turkey’s agent when he

published the November 8 Op-ed; and the only evidence directly addressing how the November

8 Op-ed came to be published, introduced by the Government, was that the drafting of the

November 8 Op-Ed began before the November 3 meeting with Alptekin, the November 8 Op-ed

was Flynn’s idea (which Flynn himself confirmed to Covington), that it was based in part on

research conducted by FIG under the Agreement, that it was not written or published at the

request of, or under the direction or control of Inovo, the Turkish government or any other party,

no compensation was received, neither Alptekin or Turkey participated in its drafting, it was one

in a long string of public statements and positions by Flynn related to terrorism and the Islamic

State in Iraq and Syria 32 and Alptekin later expressed unhappiness with aspects of the November

8 Op-ed, specifically the critical assessment of the Muslim Brotherhood. 33 As for the ambiguous

and unexplained “promise made promised kept” comment, the only evidence as to its meaning,

again introduced by the Government, is that it reflected Rafiekian’s promise to share a draft of


32
   See DEX 111(April 18, 2016); 106 (May 23, 2016); 107 (July 9, 2016), 110 (August 3, 2016); 109 (October 6,
2019); and 112 (November 2, 2016); see also Trial Tr. [Doc. No. 331] (Miller) at 645:14-648:5.
33
   See GEX 60 (FARA filing, at US_v_Kian_00000357); GEX 92 at 2; see also Trial Tr. [Doc. No. 326] (Kelner) at
235:5-12; 236:20-237:4; 238:1-9; 259:10-25.).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 34 of 51 PageID# 5721




the Op-ed with Alptekin before its publication as a matter of client relations. See Trial Tr. [Doc.

No. 326] (Kelner), 237:18-25. When considered within the context of the evidence as a whole,

the strongest inference to be drawn from the publication of the Op-Ed, as the Fourth Circuit also

mentioned, is that Rafiekian worked to have Flynn’s November 8 Op-ed published in order to

“assuage[]” Alptekin” after he has expressed unhappiness with the work that had already been

done. See Opinion at PageID# 5430.

        As discussed, infra, with respect to the alleged conspiracy in Count One, the remaining

relied upon evidentiary bases for any inculpatory inferences are similarly weak in light of all the

evidence, including any adverse inference to be drawn from Rafiekian’s statements (whether

facially inconsistent or consistent with others’ statements) or the FARA filings. And given the

highly structured and defined nature of the work to be performed, how it was developed and by

whom, and how it would be performed, as well as the unqualified, unconditional contractually

required periodic payments to FIG, only a very weak inference of direction or control can be

drawn from the source of funding. Likewise, the payments to Alptekin, however characterized,

do not allow much of an inference, if any, that Rafiekian had acted or agreed to act subject to the

direction or control of the Turkish government.

        In sum, the Agreement was an ill-suited mechanism through which to install Rafiekian as

a Turkish agent subject to its direction or control. It was far from an open-ended, ill-defined

arrangement that would allow Turkey, acting through Alptekin, to direct and control what work

would be performed. In fact, Rafiekian throughout the engagement looked to his consultants in

deciding how to proceed, 34 not Alptekin; and the Agreement was entered into only after FIG and

its consultants developed and proposed a well-defined scope of work, with well-defined


34
   See e.g., Trial Tr. [Doc. No. 330] (McCauley) at 403:2-11 (Rafiekian asked McCauley “[W]hat would be the
strategy in the event we did get this contract[?]”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 35 of 51 PageID# 5722




“deliverables,” at a defined cost, allocated to those who would perform the work, without any

expectation, need, or even opportunity (given the sense of urgency), for outside “direction or

control.” The Agreement was then performed mostly by individuals other than Rafiekian

according to a plan of execution that was developed internally by FIG’s team in what appears to

have been pain-staking detail over a period of weeks in order to allow the work to be performed

quickly, without any “direction or control” by an outside party. And once the Agreement was in

place, there was no evidence that any work, other than Flynn’s November 8 Op-ed, was

performed outside the scope of work initially adopted and contracted for by FIG. In short, there

is little support for any inference from Alptekin and Rafiekian’s communications or the activities

leading up to or during the Agreement that the Agreement was viewed as simply “cover” for

Rafiekian’s covert activities as a Turkish agent acting at Turkish direction or control. Similarly

weak is any inference that FIG’s agreement with Inovo would be viewed by Turkey as a

mechanism through which Rafiekian, but no one else, including all the people actually doing the

work, would operate as an agent subject to its direction or control.

         Overall, the Government’s theory of agency also substantially undercuts any inference

that Rafiekian was enlisted to act at the direction or control of the Turkish government.

According to the Government, Turkey wanted Flynn’s support on extradition and Flynn’s

support on extradition would be more effective if Turkey were not disclosed as his benefactor or

sponsor; and for that reason, Turkey would not have had the same willingness to have disclosed

its relationship with Flynn as it had with respect to its other consultants, such as Amsterdam &

Partners. 35 But even if that were so, it says little about why Turkey would be likewise motivated


35
  See Trial Tr. [Doc. No. 350] at 976:25-977:4 (Gov.) (“What[] it’s about and what the statute [§ 951] is intended to
prevent is getting Lieutenant General Michael T. Flynn, as the national security advisor to the [R]epublican
candidate for president, for him to get out there and say that this guy [Gulen] has got to go.”); id. at 995:10-16
(Gov.) (“[T]here is no secret that the government of Turkey wanted Gulen back. The secret is that they were hiring

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 36 of 51 PageID# 5723




to recruit Rafiekian as its agent; and the strongest inference to be drawn from the evidence as a

whole is that to the extent Turkey had recruited anyone as its agent, it was not Rafiekian, but

Flynn because of his stature and his connections to then Presidential candidate Donald Trump.

In fact, the recruitment of Flynn, to the exclusion of Rafiekian, is precisely what is reflected in

DEX 66, as well as the almost overnight ending of Project Confidence and the dissolution of FIG

upon Flynn’s elevation to national security advisor. See GEX 61, Attachment at

US_v_Kian_00000356, Items 11-12 (stating “[FIG] closed its operations in November 2016”);

Trial Tr. [Doc. No. 331] at 633:8-11 (Miller); id. at 648:18-24 (Miller); id. at 523:23-524:5

(Boston). Indeed, it is difficult to reasonably infer from the evidence any real reason why

Turkey would recruit as its agent Rafiekian (but, as the Government contended, no one else

associated with FIG, including Flynn) through what was predominantly a short term research

project whose pre-determined work scope addressed only obliquely Turkey’s goal of extraditing

Gulen. 36 While one could argue that Turkey might view FIG as a useful conduit through which

to influence or funnel and conceal money to Flynn in exchange for his services, the Government

never made that contention and in any event, that purpose would not require enlisting Rafiekian

as an agent; and there was no evidence that Rafiekian and Flynn ever discussed using FIG in that

fashion or that FIG was used for that purpose. In fact, the Government never claimed that Flynn,




FIG, Flynn Intel group, headed by General Flynn and General Flynn himself to publicly proclaim the very same
position [as Amsterdam & Partners] but without revealing that it was being done at the behest of the Turkish
government.”); id. at 996:2-8 (Gov.) (“[I]t’s an entirely different thing to have . . . General Michael T. Flynn say the
same thing [as Amsterdam & Partners] but without revealing that it’s being done, paid for, and asked for and
approved by the government of Turkey through Alptekin, who was having these very high-level discussions with the
government of Turkey.”).
36
   The Government appears to rely on Rafiekian’s lobbying activities as evidence of his agency. Rafiekian’s
lobbying, limited as it was, was within the defined scope of work and nothing of significance materialized
substantively from it. See Trial. Tr. 111:4-17 [Doc. No. 325] (Olsen) (Rafiekian never lobbied or otherwise
approached the Department of Justice personnel dealing with Turkey’s request for Gulen’s extradition.); see also
Trial Tr. at 251:12-20 [Doc. No. 326] (Kelner) (The subject of Rafiekian’s lobbying was “research regarding
Gulen.”).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 37 of 51 PageID# 5724




who was identified as the lead on the FIG engagement, was acting as a Turkish agent subject to

its direction or control. Whatever may have been the relationship between the Government of

Turkey, Alptekin and Flynn, on which there is no evidence other than DEX 66, the evidence as a

whole allows only the weakest inference that Rafiekian had agreed to operate as a Turkish agent

subject to its direction or control. Overall, the great evidentiary weight is that Rafiekian did not

agree to act, or would not have understood that Alptekin was proposing that he act, or that he

would be seen as having agreed to act, subject to the direction or control of Turkey, acting

through Alptekin or otherwise.

       For the above reasons, when considered in light of all the evidence, Rafiekian’s

conviction on Count Two is against the great weight of the evidence, it would be unjust to enter

judgment of conviction based on the totality of that evidence, and it is in the interest of justice to

set it aside and order a new trial on Count Two.

       B. Conspiracy Conviction (Count One)

       Rafiekian was convicted of conspiracy (1) to act as an unregistered agent of a foreign

government in violation of § 951; and (2) to make willful and material false statements and

omissions in a FARA filing in violation of 22 U.S.C. § 618(a)(2). In order to convict Rafiekian

of this charge, the Government was required to prove beyond a reasonable doubt that: (1) the

conspiracy, agreement, or understanding to violate §§ 951 and 618(a) was formed, reached, or

entered into by two or more persons; (2) at some time during the life of the conspiracy, Rafiekian

knew its purpose; (3) Rafiekian deliberately joined the conspiracy with knowledge of its

purpose; and (4) at some time during the life of the conspiracy, one of its members knowingly

performed an overt act to further or advance its purpose. [Doc. No. 354-5 at 38] (Jury




                                                  37
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 38 of 51 PageID# 5725




Instruction No. 33). The superseding indictment alleges that the alleged conspiracy began from

at least July 2016. [Doc. No. 141].

         In finding the evidence sufficient to sustain Rafiekian’s conviction on Count One, 37 the

Fourth Circuit concluded that a reasonable jury could conclude that Rafiekian and Alptekin

conspired to act subject to Turkey’s direction without first notifying the Attorney General based

on evidence that (1) “Rafiekian and Alptekin engaged in a multi-month effort to facilitate Project

Truth/Confidence,” which “joint conduct easily establishes that the two agreed to operate—if not

explicitly, then implicitly—subject to Turkish direction,” and (2) “considerable evidence in the

record indicating that Rafiekian and Alptekin together sought to avoid disclosing Turkey’s

involvement to the Attorney General, as § 951 requires.” 38 Opinion at PageID# 5432. The Court

has considered the strength of those inferences when considered in light of all the evidence,

including the credibility of the witnesses, and for essentially the same reasons as those discussed


37
   In concluding that the evidence was sufficient to sustain the conspiracy charge in Count One, the Fourth Circuit
limited its consideration to the sufficiency of the evidence for conviction based on the first alleged object of the
conspiracy—to have Rafiekian act as an undisclosed foreign agent in violation of Section 951—without considering
the sufficiency of the evidence with respect to the alleged second object of the conspiracy. Opinion at PageID#
5431. It also “refrain[ed] from drawing conclusions with respect to Flynn’s alleged participation [in that alleged
conspiracy].” Id. at PageID# 5431, fn. 21.
38
   That “considerable evidence” is:
           (1) “From the project’s inception, confidentiality was of paramount concern,” as evidenced by (a) the lack
of any mention of Turkish involvement in any of the agreements between FIG, Inovo and Alptekin; (b) the
agreements “specifically provide[d] that ‘no public announcement of the scope or details of this engagement shall be
made without written approval of [the] parties during the course of the engagement;’” and (c) “Rafiekian[’s]
caution[ing] his employees not to reveal [FIG]’s work on Project Confidence or use Inovo’s name in external
discussions” and advised Sphere Consulting not to disclose Inovo’s name except “as a last resort;”
          (2) “[W]hen pressure mounted to make some kind of public disclosure, Rafiekian balked at notifying DOJ,
opting instead to keep things—as he put it—‘under the radar’ by filing a barebones lobbying-registration form with
Congress.” Opinion at PageID# 5432 (citing J.A. 982–84, 2581–8); and
          (3) Efforts continued to hide Turkey’s involvement from DOJ after the Op-ed drew scrutiny.
With respect to this last category of evidence, the Court of Appeals pointed to (a) “Rafiekian[’s] assert[ion] that the
New York meeting was ‘unrelated to Project Confidence’ (despite having told his own employees that it was) and
that Alptekin’s fees were just ‘refunds’ for incomplete lobbying work (despite having described them as ‘consulting
fees’ in virtually all contemporaneous communications);” (b) “[c]onsistent with Rafiekian’s statements, Alptekin
had his attorney draft an opinion letter disclaiming any formal relationship between Inovo and Turkey;
characterizing his payments as ‘refunds’; dismissing the notion that he had asked for or approved the op-ed; and
conspicuously omitting any mention of the New York meeting”; and (c) “Rafiekian[’s] deliver[ing] that [opinion]
letter to Covington investigators himself—further evidence of at least a ‘tacit’ agreement between Rafiekian and
Alptekin to prevent disclosure DOJ.” Opinion at PageID# 5432-33.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 39 of 51 PageID# 5726




with respect to Rafiekian’s § 951 conviction on Count Two, there is only a weak inference of any

conspiratorial agreement to operate subject to Turkish direction or control, which is heavily

outweighed by the evidence that Rafiekian did not contemplate any relationship other than an

arms-length, highly defined and focused engagement that the FIG team had developed,

consisting mostly of open source research, which would be performed with a sense of urgency

over a short period according to a detailed plan of execution, also developed internally, with no

outside direction or control.

        Likewise weak is any inference that Rafiekian conspired with Alptekin to file a false

FARA statement, the second object of the alleged conspiracy. 39 The DOJ first raised the specter

of a need for a FARA filing by letter to Flynn dated November 30, 2016 (which did not become

known to Flynn until December 24, 2016), by which time FIG had ceased operations and was not

performing any work for Inovo or anyone else. See GEX 90, 92,GEX 61, Attachment at

US_v_Kian_00000356, Items 11-12 (stating “[FIG] closed its operations in November 2016”);

Trial Tr. [Doc. No. 331] at 633:8-11 (Miller); id. at 648:18-24 (Miller); id. at 523:23-524:5

(Boston); GEX 167 (LDA report dated December 1, 2016 listing termination date of November

16, 2016). Other than Alptekin’s email to Rafiekian on January 18, 2017, forwarding him a copy

of his lawyer’s opinion letter dated January 18, 2017, there is no evidence of any

communications between Rafiekian and Alptekin after DOJ’s FARA related inquiry. Moreover,

Rafiekian’s participation in a conspiracy to file a false FARA statement also appears strained

given Covington’s role, investigation, and control over the substance of the FARA filing, the

FARA’s disclosures themselves, which included the New York meeting, the substance of FIG’s



39
  The Fourth Circuit did not decide the sufficiency of the evidence as to Rafiekian’s conviction on Count One based
on the second object of the alleged conspiracy. Nevertheless, the Court has also considered whether a new trial is
warranted as to that aspect of Count One.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 40 of 51 PageID# 5727




engagement with Inovo and Alptekin’s role; and Turkey as a primary beneficiary of FIG’s

engagement with Inovo, as well as the peripheral and arguably immaterial nature of some of

Rafiekian’s relied statements from which an adverse inference could be drawn. 40

        With respect to Rafiekian’s confidentiality concerns, which the Fourth Circuit recognized

were “understandable” but nevertheless sufficient to allow a conspiracy to be inferred, see

Opinion at PageID# 5432, the evidence most strongly reflects that they were motivated, not by a

concern over Executive Branch knowledge of the engagement, but by a concern that publicity

would make its contracted for investigation more difficult by alerting Gulen supporters. See

Trial Tr. [Doc. No. 330] at 414:11-13 (McCauley) (“The purpose of keeping it [Project

Confidence] under the radar was to avoid detection by Tony Podesta and other members of

Congress who were favorable to Gulen.”). That more persuasive inference is substantially

strengthened by Flynn’s disclosure on September 15, 2016, to a U.S. Government agency that he

planned on meeting with the Turkish Foreign Minister and also possibly the Turkish President

Erdogan on September 19, 2016, that FIG was supporting a Dutch company in reviewing the

confidence of the international community in the Turkish government, referencing a Strategic

Approach and Project Confidence, DX 6 (Stip. Of Fact No.2); Trial Tr.[Doc. No. 350] at

1007:10-11,25 -1008:13, and also Rafiekian’s voluntary disclosure on September 28, 2016, in a

meeting with a U.S. Government agency that he had “been asked to consult on a documentary-

style commercial to raise awareness about” Gulen’s charter schools and identified Alptekin “as a

business contact” who had “senior level contacts in the Turkish government” and was “the sole

owner of Inovo, a Dutch company.” DX 14; Trial Tr. [Doc. No. 350] at 1009:6-1010:5.



40
  While there is evidence that Rafiekian was unhappy with FARA’s statement that Turkey was the primary
beneficiary of the FIG’s engagement, see Trial Tr. [Doc. No. 326] (Kelner) at 252:11-14, there is no evidence that
Rafiekian attempted to change that disclosure or any other aspect of the FARA filing or to prevent the FARA filing.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 41 of 51 PageID# 5728




        Finally, any inference of conspiracy is further undercut not only by the extent of

Rafiekian’s actual contact with Turkish officials, as discussed above, but also by the undisputed

evidence that, in fact, Turkey had a long history of registering openly under FARA with respect

to its use of consultants, such as FIG, including with respect to contracts related to Gulen; 41 and

from late 2015, early 2016 through March 2017, Turkey had been actively and openly meeting

with State Department personnel, including the Attorney General, about the extradition of Gulen,

whom it identified as a terrorist. See Trial Tr. [Doc. No. 325] at 87:8-24 (Olsen); id. at 104:13-

25 (Olsen); id. at 105:1-10 (Olsen). Rafiekian expressed sentiments clearly sympathetic and

aligned with the well-known publicly stated views, goals, and objectives of the Turkish

government as well as admiration for the Turkish President and was no doubt motivated by those

sentiments. But as the Fourth Circuit made clear, a person must do more than act in parallel with

a foreign government’s interest, pursue a mutual goal, or privately pledge personal alliance, see

Opinion at PageID# 5413, and for that reason, there is only a weak inference bordering on

speculation that once the work scope was defined and the Agreement executed, Rafiekian had

agreed to abide by and operate according to the directions of Turkey with respect to the work to

be performed under the contract.

        Likewise, the inference of conspiracy based on the lack of any reference to Turkey in the

written agreements between FIG, Inovo, and Alptekin is weak. That inference is based on the

presumption that Turkey, acting through Alptekin and Inovo, was, in fact, the client for the



41
  See Trial Tr. [Doc. No. 326] at 211:14-20 (Gilday) (stating there is on file in the Department of Justice’s FARA
office 17 different registrations on behalf of Turkey with respect Turkey’s use of consultants); GEX 148, 149
(FARA filings by Amsterdam and Partners listing its client as Turkey with respect work pertaining to Gulen); Trial
Tr. [Doc. No. 334] at 897:12-21 (Durkovic) (testifying that Turkey hired Amsterdam & Partners to “expose
Fethullah Gulen and his criminal network in the United States” and that it worked directly with Turkish officials
through its Washington, D.C. embassy); id. at 900:20-901:17 (testifying that Amsterdam & Partners publicly
disclosed in a FARA filing the engagement with Turkey as the client, that Turkey made no attempt to prevent that
disclosure, and Turkey did not request that it have any contact with FIG).

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 42 of 51 PageID# 5729




purposes of those agreements. But given that the evidence most strongly supports the inference

that Rafiekian would not have thought he had entered into a contract with Turkey, as discussed

above, it is hardly surprising or probative of an illicit conspiracy that there is no mention of

Turkey in the agreements; and no persuasive inference of conspiracy can be drawn simply from

the fact that the Agreement between FIG and Inovo did not mention any Turkish involvement.

       Similarly weak in light of all the evidence is the inference of a conspiracy drawn from

Rafiekian’s “filing a barebones lobbying-registration form” only after “pressure mounted to

make some kind of public disclosure.” See Opinion at PageID# 5432 (citing J.A. 982–84,

2581–8). In that regard, ostensibly shortly after Rafiekian received Alptekin’s confirmation of

the engagement with Inovo on August 25, 2016, Flynn raised the subject of disclosure and

Rafiekian began his efforts to comply with any applicable disclosure requirements. There is no

evidence that at that point Rafiekian disagreed, “balked” or resisted doing what was required, but

on the other hand, and without any evidence of mounting pressure, contacted Covington in late

August in order to file what he thought was a required FARA filing and told Covington that he

thought a FARA filing was needed; and in fact, delayed sending the proposed Agreement to

Alptekin pending legal review for compliance. See GEX 67H. When Covington declined the

representation because of political alignments in the firm, he contacted Robert Kelley, who held

himself out as an experienced national security lawyer, to whom Rafiekian also said “[we] have

to . . . register at the Foreign Agents Registration Act.” Trial Tr. [Doc. No. 334] at 857:16-19

(Kelley). In response, Kelley asked whether the client was a foreign government or political

party, as opposed to a foreign private entity, and after Rafiekian said that the client, Inovo, was a

private Dutch company, Kelley, with no further inquiry, advised that a filing under FARA was

not necessary and showed him the Federal Register that says it is not necessary for a private



                                                 42
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 43 of 51 PageID# 5730




company to register under FARA, and that because Rafiekian contemplated some lobbying under

the engagement, FIG could file under the Lobbying Disclosure Act (“LDA”). Id. [Doc. No. 334]

at 858:4-8 (Kelley). 42 Thereafter, Kelley prepared the LDA filing based on his experience of

what was adequate, without any further consultation with Rafiekian. See GEX173 (Kelley

Decl.), ¶¶ 7-11. Whatever may be said about the adequacy of Kelley’s legal representation or

inquiry, or the adequacy of the LDA filing that he prepared, 43 and notwithstanding that Rafiekian

had notice of Turkish interest in FIG’s engagement, the uncontradicted evidence, introduced by

the Government through documents and witnesses who credibly testified without impeachment,

is that Rafiekian provided all the information asked of him by Kelley, the information he

provided was the information he had received from Alptekin, as confirmed in the Agreement, he

acted in conformity with Kelley’s advice, and Kelley, and Kelley alone, was responsible for

filing the “barebones” LDA filing. 44 Nor can much of an inference of criminality be drawn from

Rafiekian’s “keep it under the radar” comment, given that it came weeks after Rafiekian was

advised by counsel that only an LDA filing was necessary and his and Flynn’s disclosures to a

government agency about FIG’s engagement and their contact with Turkish officials.

         There is likewise only a weak inference that “at least a ‘tacit’ agreement between

Rafiekian and Alptekin to prevent disclosure to DOJ” can be drawn from Rafiekian’s facially




42
   Kelley’s advice that a FARA filing was not required without further inquiry upon learning that FIG’s client was a
private company appears to reflect the view in some legal quarters that registration under FARA is not required for
an engagement with a private company, even if a foreign government is the primary beneficiary. See Trial Tr.
[Doc. No. 326] (Kelner) (agreeing that this issue is a “murkey area.”).
43
   The Government criticizes in particular the reference to two funding bills in the LDA filing, “S.1635 and House
counterpart and H.R. 1735 and Senate counterpart.” GEX 166. That filing, however, also mentioned “U.S.
domestic and foreign Policy” as the topic of current and anticipated lobbying issues, which more directly covered
the extradition of Gulen. See Id.
44
   Presumably based on the information Rafiekian received concerning Turkish interest in FIG’s engagement, when
viewed most favorably to the Government, the Fourth Circuit referred to Rafiekian’s disclosures to Kelley as
“disingenuous.” See Opinion at PageID# 5433, n. 23. When Rafiekian’s disclosures are considered within the
context of Kelley’s inquiry and Rafiekian’s other disclosures, such a characterization weakens.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 44 of 51 PageID# 5731




inconsistent statements. Opinion at PageID# 5432-33. 45 With respect to Rafiekian’s statement

concerning the relationship between Project Truth and Project Confidence, as discussed above,

the only direct evidence, introduced principally by the Government, is that, as Rafiekian

consistently stated based on what Alptekin told him, FIG entered into a contract concerning

Project Confidence with a client different than the client first contemplated for Project Truth, and

given that evidence, his describing the two projects as “completely separate” does not allow for

much of an inference of agency with the Turkish government. Similarly, that investigating

Gulen was ostensibly at the heart of both projects says little about who the actual client was,

given the central role Gulen expressly played with respect to the identified Objective and

Strategic Approach developed by FIG’s consultants for Project Confidence. Similarly,

Rafiekian’s ostensibly conflicting statements pertaining to the New York meeting and the

payments to Alptekin are not so unsupported by the evidence so as to allow a strong inference of

mendacity or conspiracy. In that regard, the September 19 meeting in New York had not been

budgeted or identified as an action item for Project Confidence and as reflected in FIG’s

preparation for the New York meeting, the meeting was viewed as an opportunity to obtain

additional background information on the situation in Turkey through a series of questions.

However, as it turned out, the 25-to-30 minute New York meeting provided no opportunity for

questions, no discussion of FIG’s engagement or what information would be helpful to FIG in

performing the contracted for work. Rather, it turned out to be simply an opportunity for Turkish



45
   That inference is based on Rafiekian’s statements to Covington investigators that (1) Project Confidence, with
Inovo as the client, was “completely separate” from what was first contemplated as “Truth” with Turkey as the
client; (2) the New York meeting was unrelated to Project Confidence; (3) Alptekin’s fees were refunds for
incomplete lobbying work; and (4) Alptekin’s opinion letter, which, “consistent with Rafiekian’s statements,
…disclaim[ed] any formal relationship between Inovo and Turkey, characterize[ed] his payments as ‘refunds;’
dismiss[ed] the notion that he had asked for or approved the op-ed; and conspicuously omitt[ed] any mention of the
New York meeting[,] and ‘Rafiekian[’s] deliver[ing] that [opinion] letter to Covington investigators himself.’”
Opinion at PageID# at 5408, 5433.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 45 of 51 PageID# 5732




Officials to complain about Gulen. Against that background, Rafiekian’s reference to the New

York meeting in advance of that meeting as “background” and related to their engagement and

then several months after that meeting, when asked by Covington’s investigation, as “unrelated”

to Project Confidence, 46 which it apparently turned out to be, when measured against what

Rafiekian had hoped to get out of the meeting, does not allow a strong inference that he was

attempting to hide Turkey’s involvement, particularly given his other extensive disclosures to

Covington, through his e-mails and otherwise, of his communications with Alptekin concerning

Turkish interest. See, e.g. GEX 26A, 26B. Similarly, the evidence is mixed as to how the

payments to Inovo could be reasonably viewed by the end of the engagement, and in fact was

extensively debated within Covington. 47

         With respect to Alptekin’s opinion letter received on January 18, 2017, other than the

letter itself, the only communications in evidence between Rafiekian and Alptekin about legal

compliance appear to have taken place on September 1, 2016 48 and September 3, 2016, 49 and no


46
   The evidence of the “unrelated” comment comes from Kelner’s testimony that Rafiekian told him that at the New
York meeting “there wasn’t discussion of the Inovo contract and . . . the meeting was not related to Project
Confidence.” Trial Tr. [Doc. No. 326] at 260:18-19 (Kelner).
47
   The Agreement with Inovo was a “firm, fixed price” contract for $600,000, to be paid in three $200,000
installments. GEX 151B at 2. The $600,000 price tag was set based on what appears to be $330,00 for FIG,
$120,000 for Alptekin and $150,00 for Sphere. See Trial Tr. [Doc. No. 330] (McCauley) at 410:7-8. As it turned
out, Sphere did not engage in the lobbying effort originally contemplated (FIG paid Sphere only $30,000, later
increased to $40,000, rather than the budgeted $150,000). See GEX 61, Attachment at US_v_Kian_00000358, Item
15; Trial Tr. [Doc. No. 222] at 734:15-19 (Courtovich). Alptekin was ostensibly aware of Sphere’s limited lobbying
effort, in light of which the parties appear to have modified the second installment payments from $200,000 to
$185,000, which effectively reduced the allocated Sphere payment to $35,000 (after the payment of $40,000 back to
Alptekin) and the third installment from $200,000 to $145,000, which ostensibly reflected a holdback of $40,000 for
Alptekin and an additional $15,000. As Kelner of Covington testified, the firm spent a lot of time considering how
to characterize the payments, with those payments being characterized in early drafts as “refunds due to reduction in
scope,” which reflected the views of some of the Covington lawyers working on the issue. See Trial Tr. [Doc. No.
326] at 296:9-12 (Kelner); id. at 297:4-18.
48
   See GEX 67H (Rafiekian advising Alptekin that he was delaying sending the proposed engagement letter
“because I have hired a law firm and they are reviewing for compliance. We will absorb this extra cost. No impact
on your firm [Inovo]”.).
49
   See GEX 67 at 12 (“[W]e have now added Bob Kelley our General Counsel to the team. We concluded our talk
with him and he is now fully briefed and focused on the mission. He has also already advised on the composition of
our engagement letter with INOVO BV. His advice is to stay very brief on the language of the agreement. No need
to discuss methods and sources in the agreement. He is also advising that we do register as LDA (Lobbying

                                                         45
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 46 of 51 PageID# 5733




reasonable inference of the alleged conspiracy can be drawn from either exchange. There is also

no evidence that Rafiekian or FIG’s lawyers had any knowledge of Alptekin’s efforts to obtain

the opinion letter or what the opinion letter would say until he received Alptekin’s e-mail on

January 18, 2017, with the opinion letter enclosed. See Trial Tr. [Doc. No. 326] at 240:21-241:1

(Kelner). As Alptekin explained to Rafiekian in that letter, without any hint of a prior

discussion, he obtained the opinion letter for primarily reputational concerns 50 and was

forwarding it to Rafiekian because “[he] hope[d] you [Rafiekian] will take the time to read the

opinion.” GEX 93A. In any event, not much can be drawn from any “[c]onsisten[cy] with

Rafiekian’s statements,” see Opinion at PageID# 5433, as any “consistency” simply reflected the

evidence that the Government offered. See Bell Atlantic v. Twombly, 550 U.S. 544, 564-66

(2007) (stating parallel conduct by itself does not plausibly allege a conspiratorial agreement).

As discussed above, only Alptekin knew the relationship between Inovo and Turkey, nothing

Alptekin ever said to Rafiekian suggested “a formal relationship between Inovo and Turkey,”

there is no evidence of such a “formal relationship,” Rafiekian described that relationship to

Covington as it was conveyed to him by Alptekin, and the FARA statement prepared by

Covington said as much. See GEX 61, 65. The Government presented multiple witnesses that

credibly and consistently testified that Inovo was regarded as FIG’s client, that Alptkin said to

them personally that Inovo was the client, funded by Turkish businessmen, and that Project

Confidence was developed and executed with that understanding; and there was no evidence that


Disclosure Act) with some outreach to congress (limited) just to satisfy the requirements of LDA at optimum
level.”).
50
   Alptekin stated he obtained the opinion letter “as my integrity was questioned” (presumably referencing the news
reports that followed Flynn’s Op-ed), and “my good name has suffered a blow for no reason whatsoever.” GEX
93A. The Opinion letter dealt primarily with whether the regulations of the Foreign Economic Relations Board of
Turkey applied to “his election as Chairman of The Turkish-American Business Council (TALK) one of the
Business Councils of the Foreign Economic Relations Board of Turkey” and “if TALK Chairman position could be
construed as a Turkish government position or an independent position for the purposes of the Foreign Agents
Registration Act (FARA).” GEX 93B at 1.

                                                        46
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 47 of 51 PageID# 5734




Rafiekian had information about Alptekin’s role, Inovo’s status or funding other than as

explained by Alptekin. Nor does “Rafiekian[’s] deliver[ing] that [opinion] letter to Covington

investigators himself ” allow much of an inference of conspiracy, particularly since he didn’t

give it directly to Covington, but rather to lawyer Verdame, who gave it to Covington, without

any evidence whether she did that at Rafiekian’s request. See Opinion at PageID# 5433; Trial

Tr. [Doc. No 326] at 238:22-239:3 (Kelner). With respect to the “refund” characterization,

Alptekin’s view summarized in his lawyer’s opinion letter was that “INOVO should be

reimbursed for part of the retainer since both the Lobbying and PR components never

materialized. INOVO never hired Sphere Consulting.” GEX 93B at 3. That view appears to be

reasonably related to the facts. See supra n. 49. And while Alptekin’s opinion letter did not

mention the New York meeting, Rafiekian certainly did. And for essentially the same reasons,

only weak inferences of any conspiracy to violate FARA can be inferred from the statements in

the FARA filing itself. 51


51
   The allegedly false statements that Rafiekian told Covington for the purpose of the FARA filing are the following,
set forth in Paragraph 53 of the Superseding Indictment:
          1. The September 19, 2016 New York meeting had nothing to do with project confidence and instead was
in furtherance of an abandoned Project Truth that was distinct from Project Confidence;
          2. There were no other contacts with Turkish government officials regarding the project;
          3. The op-ed was Flynn's own idea, and he rewrote it and he wrote it on his own behalf, and unrelated to the
project.
          4. Alptekin did not want the op-ed to be published; and
          5. Payments to FIG from Inovo were refunds for lobbying and publicly relations work that FIG did not
perform.
See [Doc. No. 141] ¶ 53.
          The Superseding Indictment also alleges in Paragraphs 55-63 that “Rafiekian and Alptekin caused to be
made the following false statements of material fact in documents filed [under FARA] and omitted the following
material facts necessary to make the statements therein not misleading [and] Rafiekian reviewed the filings and
provided comments to [FIG]’s attorneys before the filings were submitted, but did not request that any of the false
statements be changed”:
          1. Inovo was listed as the only foreign principal for whom the registrant is acting or has agreed to act.
          2. During the course of the engagement and thereafter, FIG’s officials, particularly Flynn, in his capacity as
a public figure, separate from FIG, frequently wrote, spoke, or provided interviews relating to national security; and
although not undertaken at the direction of any foreign principal, including but not limited to Inovo, it is possible
that such activities may have had indirect benefit to Inovo.
          3. FIG does not know whether or the extent to which the Republic of Turkey was involved with its
retention by Inovo for the three-month project.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 48 of 51 PageID# 5735




         The great weight of the evidence against Rafiekian’s conspiracy conviction is also

reflected in the Government’s own assessment of the evidence relative to Flynn’s involvement.

As mentioned above, until shortly before trial, and after years of investigation, and with the

benefit of all of the evidence it presented against Rafiekian, as well as the classified information

summarized in DEX 66, the Government admitted in court that Flynn was not a member of the

charged conspiracy, even though Flynn was designated the lead on the engagement, had direct

contacts with Turkish officials, participated in almost all of the communications and meetings in

evidence, including the September 19, 2016, meeting with Turkish officials, wrote the published

Op-ed and corroborated Rafiekian’s statements which the Government claimed were knowingly

false concerning who FIG’s client was, the purpose of Project Confidence, the relationship Gulen

had to that purpose and how the November 8 Op-ed came to be written. Moreover, the

Government’s relabeling of Flynn as a co-conspirator on the eve of trial was not based on any

new evidence, but rather its assessment that Flynn’s testimony would not advance its case

against Rafiekian.

         Overall, all of the evidence that dealt most directly with the central issues in the case

(viz., who was FIG’s client, what was the stated purpose of Project Confidence and the

relationship between investigating Gulen and that purpose, how the work scope was developed




         4. FIG was not supervised by a foreign government or other foreign principal.
         5. Because of his expertise, FIG’s officials write, speak, and give interviews relating to national security;
and although not undertaken at the direction or control of foreign principal, it is possible that such activity may have
an indirect benefit to a principal.
         6. On his own initiative, without a request or direction from Inovo or any other person, Flynn published an
op-ed in The Hill on November 8, 2016, that related to the same subject matters as FIG’s work for Inovo.
         7. FIG understood the engagement to be focused on improving US business organizations’ confidence
regarding doing business in Turkey, particularly with respect to the stability of Turkey and its suitability as a venue
for investment in commercial activity.
         8. The September 19, 2016 New York meeting was “for the purpose of understanding better the applicable
climate in Turkey at the time, as background for the project.”


                                                          48
Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 49 of 51 PageID# 5736




and who exercised direction or control over the Project) all points to Rafiekian’s innocence.

Rafiekian’s convictions, on the other hand, are based on weak inferences, many built upon one

another, drawn from narrowly framed circumstantial evidence, without regard to a broader

context that substantially undercuts any inculpatory inferences.

       For the above reasons, Rafiekian’s conviction on Count One is against the great weight of

the evidence and a new trial on Count One is warranted in the interests of justice and to avoid a

miscarriage of justice.

       Although the Court concludes that a new trial is warranted as to both Counts based on the

above weight of the evidence analysis, that decision is further supported by the Government’s

argument pertaining to DEX 66 in its closing summation, which, in the Court’s judgment,

distracted the jury’s attention from the great weight of the evidence in favor of acquittal.

       DEX 66 was the Government’s court approved summary of classified information that

was either exculpatory or of assistance to the defendants; and, by definition, it was a summary

that “will provide the defendant with substantially the same ability to make his defense as would

disclosure of the specific classified information.” See Classified Information Protection Act, 18

U.S.C. app. 3, § 6(c)(1)(B). That summary evidences conversations between the Turkish

government, Flynn and Alptekin for the purpose of enlisting Flynn to essentially lobby Donald

Trump, then a candidate for President, to support the extradition of Gulen, all without any

reference to Rafiekian. That lobbying of Donald Trump was nowhere mentioned or suggested

within the context of FIG’s engagement by Inovo. Moreover, there was no evidence that

Rafiekian knew or was on notice of those summarized contacts between Alptekin and Flynn,

who, it appears, did not disclose those contacts even to his Covington lawyers. See Trial Tr.

[Doc. No. 323] at 323:1-24 (Kelner).



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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 50 of 51 PageID# 5737




           When viewed in light of all the evidence, DEX 66 evidences, at most, an uncharged

conspiracy involving Flynn to the exclusion of Rafiekian. Nevertheless, and despite the facial

exculpatory nature of DEX 66, the Government in essence argued to the jury, based on presumed

facts nowhere reflected in either DEX 66 or elsewhere in evidence, that DEX 66 simply

evidenced a conspiracy between Flynn and Alptekin that Rafiekian had not yet, but ultimately

joined.52 The Government now argues that what it told the jury about what DEX 66 means falls

within fair comment on the evidence, its “[a]rguing the exhibit [DEX 66] ‘says nothing at all’[as

to Rafiekian’s innocence] is not the same as arguing that it constitutes substantive evidence of

guilt[]” and its “offering a hypothetical to show how an exhibit has no exculpatory value is not

the same thing as arguing it affirmatively proves guilt. [Doc. No. 390] at PageID#5547. But the

Government’s “hypothetical” argued implicitly (if not explicitly) that DEX 66 implicated

Rafiekian’s guilt, albeit with respect to an uncharged conspiracy; and the jury could have easily

attributed that “hypothetical” guilt, as explained by the Government, to the charged conspiracy,

despite the lack of support for such an attribution in DEX 66, and the government’s judicial

admission that Flynn was not part of the alleged conspiracy against Rafiekian.

                                               IV. CONCLUSION

           The Court recognizes that a new trial is to be granted sparingly, with great deference to

be accorded to the judgment of the jury; and the Court has centrally considered whether it should

defer to the judgment of the jury. After a thorough consideration of all the evidence, and after

giving great deference to the jury’s assessment of the evidence, the Court finds and concludes

that Rafiekian’s convictions on Counts One and Two were so against the great weight of the




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     See Trial Tr. [Doc. No. 351] at 1182:18-1183:9.

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Case 1:18-cr-00457-AJT Document 412 Filed 03/25/22 Page 51 of 51 PageID# 5738
